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            EXHIBIT A
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Joe Walker

TO:             Global Climate Science Team
CC :            Michelle Ross: Susan Moya
Subject:        Draft Global Climate Science Communications Plan

As promised attached is the draft global climate science Communication Plan that we developed during our
workshop last Friday. Thanks especially to those of you who participated in the workshop, and in particular to
join Adams for his very helpful though following up our meeting, and Alan Caurdill for tuning around the
notes from our workshop so quickly

Please review the plan and get back to me with your comment as soon as possible.

As those of you who were at the workshop know we have scheduled a follow-up team meeting to review the
plan in person on Friday, April 17, from 1 to 3 pm. at the API headquarters. After we hope to have a "Plan
champion" help us move it forward to potential funding sources, perhaps starting with the global climate
"Coordinating Council - that will be an item for discussion on April 17.

Again thanks for your hard work on this project. Please email, call or fax me with your comment. Thanks

Regards,
Joe Walker




                                                                          RICO Statement Exhibit_2
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                          Global Climate Science Communications

                                           Action Plan

                                           Project Goal

        A majority of the American public including industry leadership, recognizes that significant
in certainties exit in climate science, and therefore raises questions among those (e.g, Congress)
who chart the future U. S. courts on global climate change.

        Progress will be measured towards the goal. A measurement of the publics perspective on
climate science will be taken, before the plan is launched, and the same measurement will be taken
at one or more as yet-to-be-determined intervals as the plan is implemented

                                Victory Will Be Achieved When

   •   Average citizens “understand” (recognize) uncertainties in climate science; recognition of
       uncertainties becomes part of the “conventional wisdom”

   •   Media “ understands” (recognizes) uncertainties in climate science

   •   Media coverage reflects balance on climates science and recognition of the validity
       viewpoints that challenge the current “conventional wisdom”

   •   Industry senior leadership understands uncertainties in climates science, making
       them stronger ambassadors to those who shape climate policy

   •   Those promoting the Kyoto treaty on the basis of extant science appear to be out of
       touch with reality.

                                         Current Reality

        Unless "climate change" becomes a non-issue, meaning that the Kyoto proposal is defeated
and there are no further initiatives to thwart the threat of climate change, there may be no in
comment when we can declare victory for our effort. It will be necessary to establish measurement
for the science effort to track progress toward achieving the goal and strategic success




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                                                  2

        Because the science underpinning the global climate change theory has not been challenged
effectively in the media or through other vehicles reaching the Amen can public; there is
widespread ignorance, which works in favor of the Kyoto treaty and against the best interests of the
United States. Indeed, the public has been highly receptive to the Clinton Administration's plans.
There has been little, if any, public resistance or pressure applied to Congress to reject the treaty,
except by those "inside the Beltway" with vested interests.

        Moreover, from the political viewpoint, it is difficult for the Unites States to oppose the
treaty solely on economic grounds, valid as the economic issues are. It makes it too easy for other to
portray the Unites States as putting preservation of its own lifestyle above the greater concerns of
mankind. this argument in turn forces our negotiators to make concessions that have not been well
thought through, and in the end may do far ,more harm than good. This is the process that unfolded
at Kyoto, and is very likely to be repeated in Buenos Aires in November 1998.

       The advocates of global warming have been successful on the basis of skillfully
misrepresenting the science and the extent of agreement on the science, while industry and its
partners ceded the science and fought on the economic issues. Yet if we can show that science does
not support the Kyoto treaty — which most true climate scientists believe to be the case — this puts
the United States in a stronger moral position and frees its negotiators from the need to make
concessions as a defense against perceived selfish economic concerns.

        Upon this tableau, the Global Climate Science Communications Team (GCSCT) developed
an action plan to inform the American public that science does not support the precipitous actions
Kyoto would dictate, thereby providing a climate for the right policy decisions to be made. The
team considered results from a new public opinion. survey in developing the plan.

        Charlton Research's survey of 1,100 "informed Americans" suggests that while Americans
currently perceive climate change to be a great threat, public opinion is open to change on climate
science. When informed that "some scientists believe there is not enough evidence to suggest that
[what is called global climate change] is a long-term change due to human behavior and activities,"
58 percent of those surveyed said they were more likely to oppose the Kyoto treaty. Moreover, half
the respondents harbored doubts about climate science.

       GCSCT members who contributed to the development of the plan are A- John Adams, John
Adams Associates; Candace Crandall, Science and Environmental Policy Project; David Rothbard,
Committee For A Constructive Tomorrow; Jeffrey Salmon, The Marshall Institute; Lee Ganigaru
Environmental Issues Council; Lynn Bouchey and Myron Ebell, Frontiers of Freedom; Peter
Cleary, Americans far Tax Reform; Randy Randol, Exxon Corp.; Robert Gehrl, The Southern
Company; Sharon Kneiss, Chevron Carp; Steve Milloy, The Advancement of Sound Science
Coalition; and Joseph Walker. American Petroleum Institute.

The action plan is detailed on the following pages.




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April 3,1998

                      Global Climate Science Communications

                                       Action Plan

Situation Analysis

       In December 1997, the Clinton Administration agreed in Kyoto, Japan, to a treaty to
reduce greenhouse gas emissions to prevent what it purports to be changes in the global
climate caused by the continuing release of such emissions. The so-called greenhouse
gases have many sources. For example, water vapor is a greenhouse gas But the Clinton
Administration's action, if eventually approved by the U5.Senate, will mainly affect
emissions from fossil fuel (gasoline, coal, natural gas, etc.) combustion.

      As the climate change debate has evolved, those who oppose action have argued
mainly that signing such a treaty will place the U.S. at a competitive disadvantage with
most other nations, and will be extremely expensive to implement. Much, of the cost will be
borne by American consumers who will pay higher prices for most energy and
Transportation.

        The climate change theory being. advanced by the treaty supporters is based
primarily on forecasting models with a very high degree of uncertainty. In fact, it not known
for sure whether (a) climate change actually is occurring, or (b) if it is, whether humans
really have any influence on it.

       Despite these weaknesses in scientific understanding, those who oppose the treaty
have done little to build a case against precipitous action on climate change based on the
scientific uncertainty. As a result, the Clinton. Administration and environmental groups
essentially have had the field to themselves. They have conducted an effective public
relations program to convince the American public that the climate is changing, we
humans are at fault, and we must do something about it before calamity strikes.

      The environmental groups know they have been successful. Commenting after the
Kyoto negotiations about recent media coverage of climate change, Tom Wathen,
executive vice president of the National Environmental Trust, wrote:

        “.. As important as the extent of the coverage was the tone and tenor of it- In a
change from just six months ago, most media stories no longer presented global warming
as just a theory over which reasonable scientists could differ. Most stories described
predictions of global warming as the position of the overwhelming number of mainstream
scientists. That the environmental community had, to a great extent, settled the scientific
issue with the U.S. media is the other great success that began perhaps several months
earlier but became apparent during Kyoto.




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                                              4


                                   Strategies and Tactics

       I. National Media Relations Program: Develop and implement a national
          media relations program to inform the media about uncertainties in
          climate science; to generate national, regional and local media coverage
          on the scientific uncertainties, and thereby educate and inform the public,
          stimulating them to raise questions with policy makers.

Tactics: These tactics will be undertaken between now and the next climate meeting in
Buenos Aires, Argentina, in November 1998, and will be continued thereafter, as
appropriate. Activities will be launched as soon as the plan is approved, funding obtained,
and the necessary resources (e.g., public relations counsel) arranged and deployed. In all
cases, tactical implementation will be fully integrated with other elements of this action
plan, most especially Strategy II (National Climate Science Data Center).

   •   Identify, recruit and train a team of five independent scientists to participate in
       media outreach. These will be individuals who do not have a long history of visibility
       and/or participation in the climate change debate. Rather, this team will consist of
       new faces who will add their voices to those recognized scientists who already are
       vocal.

   •   Develop a global climate science information kit for media including peer-reviewed
       papers that undercut the "conventional wisdom" an climate science. This kit also will
       include understandable communications, including simple fact sheets that present
       scientific uncertainties in language that the media and public can understand.

   •   Conduct briefings by media-trained scientists for science writers in the top 20 media
       markets, using the information kits. Distribute the information kits to daily
       newspapers nationwide with offer of scientists to brief reporters at each paper.
       Develop, disseminate radio news releases featuring scientists nationwide, and offer
       scientists to appear on radio talk shows across the country.

   •   Produce, distribute a steady stream of climate science information via facsimile and
       e-mail to science writers around the country.

   •   Produce, distribute via syndicate and directly to newspapers nationwide a steady
       stream of op-ed columns and letters to the editor authored by scientists.

   •   Convince one of the major news national TV journalists (e.g., John Stossel) to
       produce a report examining the scientific underpinnings of the Kyoto treaty.

   •   Organize, promote and conduct through grassroots organizations a series of
       campus / community workshops/debates on climate science in 10 most important
       states during the period mid-August through October, 1998.




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                                                 5

   •   Consider advertising the scientific uncertainties in select markets to support
       national, regional and local (e.g., workshops/debates), as appropriate.

National Media Program Budget            —             $600,000 plus paid advertising



       II. Global Climate Science Information Source: Develop and Implement a
           program to inject credible science and scientific accountability into the
           global climate debate, thereby raising questions about and undercutting
           the "prevailing scientific wisdom." The strategy will have the added benefit
           of providing a platform for credible, constructive criticism of the
           opposition's position on the science.

Tactics: As with the National Media Relations Program, these activities will be
undertaken between now and the next climate meeting in Buenos Aires, Argentina, in
November 1998, and will continue thereafter. Initiatives will be launched as soon as the
plan is approved, funding obtained, and the necessary resources arranged and
deployed.

   •   Establish a Global Climate Science Data Center. The GCSDC will be established in
       Washington as a non-profit educational foundation with an advisory board of
       respected climate scientists. It -will be staffed initially with professionals on loan
       from various companies and associations with a major interest in the climate issue
       These executives will bring with them knowledge and experience in the following
       areas:
       – Overall history of climate research and the IPCC process;
       – Congressional relations and knowledge of where individual Senators stand on
          the climate issue;
       – Knowledge of key climate scientists and where they stand;
       – Ability to identify and recruit as many as 20 respected climate scientists to serve
          on the science advisory board;
       – Knowledge and expertise in media relations and with established relationships
          with science and energy writers, columnists and editorial writers;
       – Expertise in grassroots organization; and
       – Campaign organization and administration.

The GCSDC will be led by a dynamic senior executive with, a major personal .
commitment to the goals of the campaign and easy access to business leaders at the CEO
level. The Center will be run on a day-to-day basis by an executive director with
responsibility for ensuring targets are met The Center will be funded at a level that will
permit it to succeed, including funding for research contracts that may be deemed
appropriate to fill gaps in climate science (e-g., a complete scientific critique of the EPCC
research and its conclusions).




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                                               6

   •   The GCSDC will become a one-stop resource on climate science for members of
       Congress, the media, industry and all others concerned. It will be in constant
       contact with the best climate scientists and ensure that their findings and views
       receive appropriate attention. It will provide them with the logistical and moral
       support they have been lacking. In short, it will be a sound scientific alternative to
       the IPCC Its functions will include:
       − Providing as an easily accessible database (including a website) of all
          mainstream climate science information.
       − Identifying and establishing cooperative relationships with all major scientists
          whose research in this field supports our position.
       − Establishing cooperative relationships with other main stream scientific
          organizations (e.g. meteorologists, geophysicist) to bring their perspectives to
          bear on the debate, as appropriate.
       − Developing opportunities to maximize the impact of scientific views consistent
          with ours with Congress, the media and other key audiences.
       − Monitoring and serving as and early warning system for scientific developments
          with the potential to impact on the climate science debate, pro and con.
       − Responding to claims from the scientific alarmists and media.
       − Providing grants for advocacy on climate science, as deemed appropriate.

Global Climate Science Data Center Budget          —    $5,000,000 (spread over two
                                                        years minimum)

       III. National Direct Outreach and Education: Develop and implement a direct
          outreach program to inform and educate members of Congress, state officials,
          industry leadership, and school teachers/students about uncertainties in climate
          science. This strategy will enable Congress, state officials and industry leaders
          will be able to raise such serious questions about the Kyoto treaty's scientific
          underpinnings that American policy-makers not only will refuse to endorse it,
          they will seek to prevent progress toward implementation at the Buenos Aires
          meeting in November or through other way Informing teachers/students about
          uncertainties in climate science will begin to erect a barrier against further efforts
          to impose Kyoto-like measures in the future.

Tactics: Informing and educating members of Congress, state officials and industry
leaders will be undertaken as soon as the plan is approved, funding is obtained, and the
necessary resources are arrayed and will continue through Buenos Aires and for the
foreseeable future. The teachers/students outreach program will be developed and
launched in early 1999. In all cases, tactical implementation will be fully integrated with
other elements of this action plan.

   •   Develop and conduct through the Global Climates Science Data Center science
       briefings for Congress, governors, state legislators, and Industry leaders by August
       1998.

   •   Develop information kits on climate science targeted specifically at the needs of
       government officials and industry leaders, to be used in conjunction, with and
       "Separately from the in-person briefings to further disseminate information on
       climate science uncertainties and thereby arm these influentials to raise serious
       questions on the science issue.



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                                                7

      •    Organize under the GCSDC a "Science Education Task Group" that will serve as
          the point of outreach, to the National Science Teachers Association (NSTA) and
          other influential science education organizations. Work with NSTA to develop
          school materials that present a credible, balanced picture of climate science for use
          in classrooms nationwide.

      •   Distribute educational materials directly to schools and through grassroots
          organizations of climate science partners (companies, organizations that participate
          in -this effort).

National Direct Outreach Program Budget                   —             $300,000

IV.       Funding/Fund Allocation: Develop and implement program to obtain funding,
          and to allocate funds to ensure that the program it is carried out effectively.

Tactics: This strategy will be implemented as soon as we have the go-ahead to proceed.

      •   Potential funding sources were identified as American Petroleum Institute (API) and
          its members; Business Round Table (BKT) and its members, Edison Electric
          Institute (EE3) and its members; Independent Petroleum Association of America
          (IPAA) and its members; and the National Mining Association (NMA) and its
          members.
      •   Potential fund allocators were identified as the American Legislative Exchange
          Council (ALEC), Committee For A Constructive Tomorrow (CFACT), Competitive
          Enterprise Institute, Frontiers of Freedom and The Marshall Institute.

Total Funds Required to Implement
Program through November 1998               -       $2,000,000 (A significant portion of funding
                                                    for the GCSDC will be deferred until1999
                                                    and beyond)

                                       Measurements

      Various metrics will be used to track progress. These measurements will have to be
determined in fleshing out the action plan and may include:

      •   Baseline public/government official opinion surveys and periodic follow-up surveys
          on the percentage of Americans and government officials who recognize significant
          uncertainties in climate science.

      •   Tracking the percent of media articles that raise questions about climate science.

      •   Number of Members of Congress exposed to our materials on climate science.

      •   Number of communications on climate science received by Members of Congress
          from their constituents.

      •   Number of radio talk show appearances by scientists questioning the "prevailing




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                                        8

•   Number of school teachers/students reached with our information on climates
    science.

•   Number of science writers briefed and who repeat upon climate science
    uncertainties.

•   Total audience exposed to newspaper radio, television coverage of science
    uncertainties.




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             EXHIBIT C
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                             'May IS, 1991
Infomiation


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                               change.
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                               warmer; ve etation thrived, and there was more carbon dioxide in
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                               the atmosp ere than there is now. We also h o w that during the
                               last ice age, carbon dioxide levels were lower than they are now.
                               We believe 3 is wrong IOpredict that higher levels of carbon dioxide
                               will bring a catastrophic global wanning.
                               The Information Council for the Environment was created to help
                               foster better ublic understanding ofglobal warming and to emure
                                                 P
                               that any legis ation passed by Congress is based on scientifjc
                               evidence.
                               The environment must be protected. We want a clean
                               environment and we want a green Earth. We also believe we m w
                               mnduct more scienti' reseatdr before we can acuuazeb UndeCJImtd
                               the complex f o m ofglobal climate change.

                                                               r
                               Change often begins with one son. YOUcan make a difference
                               by sharing what you've learne with others.
                               Thank you for Caring enough to request this additional
                               information.
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                               Dr. Patrick Michaels



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                                   May 15, 1991


                                   X
                                   X
                                   X
                                    X
Infomation
Council                                                                                      r   .

for &e Environment Thank you for requesting more information about
                                    global climate change. I've been asked t o respond
                                    to your request as a member of the Information
                                    Council for the Environment's Science Advisory
                                    Panel
                                    1°11 give you some background on my credentials. I
                                    am a professor at the University of Virginia. My
                                    area of expertise is environmental sciences. I am

                                    -
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                                    also one of man scientists who believe the vision
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                                    act in haste.
                                     The enclosed letter, which was sent to President
                                     Bush in February, was co-written by Dr. Robert
                                     Balling of Arizona State University and myself. As
                                     youOll note, we urqe the President not to support
                                     expensive legislatlon.
                                     I ' m sure ouOll a ree after ou review the
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                                     issue we a r e x i 1 learnln
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                                                                                who advise the
                                     United Nations suggested a 10-year research effort
                                     to answer the many uncertainties about global
                                     warming. To quote the article, "A 10-year delay in
                                     taking action to curb global warming would mean
                                     little further increase in the level of warming
                                     predicted by the end of the next century,,,n
                                         But there's         more to this issue,




                                         What can you do?
                                         1. -Make sure you're  informed. Your request for
                                              this information is a good first step,
 B o d Mmbers:
 President                               2,   If you'd like to know more, return the enclosed
 GALE liLiPP.4                                postcard and we'll send YOU more information on
 The Southern Company                         global climate change.
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                                         Thank you for caring enough to send f o r this
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  ntEDRlQi 2 P.4L\IER
                                         information.
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  Uuhincro:. D.C.
                                                                                   RICO Statement Exhibit_26
                                         Dr. P a t r i c k   Michael c
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                      May IS, 1991

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                      title)
Information
Council               address
for the Environment
                      ?hank you for requesting more information about global climate
                      change. I've been asked to respond to your request as a member of the
                      Information Council for the Environment's Science Advisory Panel.
                      I'll 've you some background on my credentials. I am a professor at
                         TJ
                      the niversity of Virginia. My area of expertise is environmental
                      sciences. I ani ai30 one ofmany scientisls who beZieve the vision of
                      catastrop?iic lobal warming is dirtorid I have enclosed a cop of a
                      letter and a &Met . - to help yo9 better usc'en:?aC K?: u'e ?x$c:.P we
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                      The enclosed letter, which was sent to President Bush in February, was
                      co-written by Dr. Robert Balling of Arizona State University and
                      myselt As you'll note, we urge the President not to support expensive
                      legislation.
                      I'm w e you'll agree afreryou m * e wthe infomation Ibe m b s & global
                      warnzing is an issue we are still learning about. In fact, just two months
                      ago, a panel of scientists who advise the United Nations suggested a 10-
                      year research effort to answer the many uncertainties about global
                      warming. To quote the article, "A 10- ear delay in taking action to curb
                                                            nsI
                      global warming would mean little fu er increase in the level of
                      warming predicted by the end of the next century..."
                      But there's more to this issue. fight now, fhereare costly proposak in
                      Congras--includingone tlaai would impose a new tax on en
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                      intended purpose 1s to reduce carbon dioxide emissions an global
                      warming.
                      What canyou do?
                       1. Make sure you're informed. Your request for this infomation-is a
                         good first step.
                                                                                 -    .
                      2.If you'd like to know more,return the enclosed postcard and we'll
                         send you more information on global climate change.
                      Tbank you for caring enough to send for this information.




                       Dr. Patrick Michaels
                                                                    RICO Statement Exhibit_27
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Information
Council                       X
for the Environment           X
                              X
                              Thank you f o r r e q u e s t i n g a d d i t i o n a l i n f o r m a t i o n on
                              .global climate change.

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                              components of o u r atmosphere i n t e r a c t w i t h each
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                              carbon d i o x i d e l e v e l s w e r e lower t h a n t h e y are
                              now.
                              W e believe
                              E v e l s ot
                              global warminq.
                              The Information Council f o r t h e Environment was
                              c r e a t e d t o h e l p f o s t e r b e t t e r public understanding
                              of qlobal warming and t o e n s u r e t h a t any
                              l e g i s l a t i o n passed by Congress is based on
                              s c i e n t i f i c evidence.
                              The environment L u s t be protected.       W e want a
                              c l e a n environment and w e want a u r e e n Earth. W e



                              Change o f t e n b e g i n s w i t h one person. You c a n make
                              a d i f f e r e n c e by s h a r i n g what yoh’ve l e a r n e d w i t h
                              others    .
                              -Thank you f o r c a r i n 7 enough t o request this
                               a d d i t i o n a l information.


Board Members:
Presiden!                      Dr.   P a t r i c k Michaels
G.uI Kl4PP.4
The Sourhr.9 Company
Athnu. G.4

 Vice Presidcni
 FREDRICK E) P.4UlER
 Uesrern fut!s -4ssociaiion
 Puhingtoa. D.C                                                          RICO Statement Exhibit_28
 Sccrctm-Trcz~uref
               Case 3:22-cv-01550-MAJ Document 4-2 Filed 11/23/22 Page 29 of 165




                                                                                                            c
                                    May 15,1991
Infomiation




                                    Thank you for requesting additional information on global climate
                                    change.
                                    The science ofglobal climate damge is very compler. We are stil
                                               r many of :'no connr?--~l!: cf c'x E.: ~.P . T ~ P Y : z x : z z
                                    I e ~ d n FoU
                                    uix e - - - x:.::. \ ; e L L 13. ~:. ZLTS 2g2 1Le z+L:-:.
                                    warmer; ve etztion thrived, an0 uere was more carbon dioxide in
                                                %
                                    the atmosp ere than there is now. We also know that during the
                                    last ice age, carbon dioxide levels were lower than they are now.
                                    We believe it is wrong to predict that higher b e l s ofcarbon dioxide
                                    wiII bring a catnstrophicglobal wambg.
                                    The Information Council for the Environment was created to help
                                    foster better ublic understanding of global warming and to ensure
                                                    Y
                                    that any legis ation passed by Congress is based on scientific
                                    evidence.
                                    The environment must be protected. We want a clean
                                    environment and we want a green Earth. We aho believe we murt
                                    conduct more scien!ij7creseatch before we cun accurdety undmand
                                    the complex forces ofglobat dimate change.

                                                                      r
                                    Change often begins with one rson You can make a difference
                                    by sharing what you've learne with others.
                                    Thank you for caring enough to request this additional
                                    information.
 kienrc- iriF Pmel:
 DR. ROREET C B.W.IKG,.lR.
 Director O f L t of Uiniatolcigy
 ~ r i 7 o n 39::s t'nh rrsity
 Temp. .U




                                                                                   RICO Statement Exhibit_29
                                                        PO.Box 414998 I Kansas Ciiy, h10 64141-499s I 1-800-346-6269 $-!
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May'2, 1991                                                                       c   -




Bill Brier
Edison Electric Institute
701 Pennsylvania Avenue N.W.
Washington, DC 20004-2696
                                                         -
Information Council for the Environment Test Market Ad Materials           _.



Enclosed are the newspaper and radio ads as they will be running in
Fargo, Flagstaff, and Bowling Green when our test campaign begins on
1' -
   y   -      .
          .-:-. c!c:e=?'' :a 36 7::. c-l-.. 13 __=?>-A:a. .Bob
May 12. We are still in production on
       ---___,_.
   _ _ . C
                                                                 Ballingc radio
                                                             z C:5?-..
                                                                           -
                                                                                      ad title3
                                                                                           .- .
                                                                          .- - Z Z ? - .* .-.. 5i-
c t z ~ " ; z = ~r.exz
                  i    K i e E r I azc &e:X. s e x 2 ~ C y     r C ; ~ vnez v.; re-eive it.
                                                         L o ~ C

Here8s a listing of what you811 find in this packet:
           1- Five newspaper ads
           2. Schedule of the radio spots and newspaper ads for each market
           3 , Four sixty-second radio commercials (on tape), two scripts
           4. Public Relations tour schedule*
           5. Copy of letters that respondents requesting information will
              receive
              *Schedule includes Fargo and Flagstaff- Bowling Green
              schedule with Dr. Pat Michaels will be completed next week.
The advertising will begin with full-page newspaper ads in each of the                                   .
markets on May 12, The campaign will conclude on Sunday, June 9.
Three full-page, two-color newspaper ads will run each of the four
weeks of this campaign.
The cassette tape contains the four radio ads that will run in
Flagstaff. The first two weeks of the schedule will feature the Dr.
Bob Balling commercials exclusively. The final two weeks of the radio
campaign will be an equal rotation of D r . Balling and Bruce Williams:
The commercial rotations in Fargo and Bawling Green will differ. The
scripts of the Rush Limbaugh commercials apply only to Fargo. These
commercials will air in only the Rush Limbaugh radio program (11 AM to
1 PM, Monday through Friday-) In Fargo, Bruce Williams commercials
will also r u n i n only his Monday through Friday, 6 PM to 9 PM program.
Dr. Balling commercials will air in all other Fargo radio schedules.
W s will send you the tape of the Rush Limbaugh radio commercials next
week.
 I n Bowling Green, we will rotate three Dr. Balling commercials 'for the
 entire length of the radio schedule. The *'Kentucky Colder" commercial                              ~




 will receive increased scheduling during the first two weeks of the
 campaign. The radio schedule will reach approximately 85% of our
 adult 25-54 target audience approximately 19 times in the four weeks
 of this campaign, This is a four-week, 1,600 gross rating point radio
 schedule .                                    RICO Statement Exhibit_30
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B i l l Brier
May 2, 1991
Page 2

                                                                         c

The combined newspaper and radio reach is estimated t o be 97% of our
adult 25-54 target audience, with a combined frequency of 35.
We will begin follow-up research on Saturday, June 15, to determine
the results of this campaign, Those results will be reported to all
of our sponsors by August 5 , 1991,
%?e appreciate all the help you've provided to make this test possible.
Don't hesitate to call me if we can be of further assistance.



Fred Lukens


cc:   Gale );lappa




                                                       RICO Statement Exhibit_31
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                                                                      c



INFORMED CITIZENS F O R THE ENVIRONMENT




                            Mission

       The mission of the Informed Citizens lor the Environment
      is to develop an eflective national communications program-
   to help ensure that action by the Administration and/or Congress
                     on the issue ofglobal warming
                     is based on scientific evidence.




                                                    RICO Statement Exhibit_32
                                  1
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                            Strategies

   1. Reposition global warming as theory (not fact).

   2. Target print and radio media for maximum effectiveness.

   3: Achieve broad participation across the entire electric utilir)'
      industry.

   4. Start small, start well, and build on early successes.


   5 . .Get the test concepts developed and implemented as soon as
      possible.

   6. "Test market" execution in early 1991.

   7. Build national involvement as soon as "test market" results are
      in hand - summer 1991.

   8. Go national in the late fall of 1991 with a media program.

   9. Use a spokesman from the scientific community.




                                                        RICO Statement Exhibit_33
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                                                                     , -
                                               Our Plan

                     1. Build S U ~        K the
                                      ~ Ofor       concept of the ICE strategy among our
                        neighbors.

                     2. Match Southern Company's commitment by having four or
                        five of our neighbors join us in raising 6125,000 by January 31,
                        1991.

                     3. Raise total commitments of $525,000 by January 31, 1991 to
                        allow the test market project to proceed on schedule.




                                                        RICO Statement Exhibit_34
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                                                                       .




                                                                   *



                                                           <   -




          PUBLIC RELATIONS TOUR
                     Monday, May 20, l ? W

11:OO a.m.      Meet with editors and writers at the
                Arizona Dailv Sun. Dr. Robert
                Balling from Arizona State
                University or Dr. Shenvood Idso
                from the U.S.Water Conservation
                Laboratory will replace Dr. Michaels
                for the Flagstaff meetings.

1:OO p.m.       Tape appearance on North Arizona
                Outlook, weekly public affairs
                program on KNAZTV.

3:OO p.m.        Appearance on KNAU-AM radio talk
                 show.




                                              RICO Statement Exhibit_35
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Client:     Information Council for the Environment              -      COPY
Subject : Rush Limbaugh/2
Media: Rush Limbaugh Show          Length:   60                                         n
Contact:     T, Helland/K, Olsen
                                                              Simmons advertising; inc.
                                                                  125 3outh 4th street I P.O. box 1457
                                                                    Qrand forks. north dakota 58208
                                                                 (701) 746-4573 /fax: (701) 74-7




GUBAL WARMING.       I WO'J YOU'VE BEEN SEEING MORE AND MORE STORIES ABOUT THE
GLOBAL K!?-YISS   "23OP.Y.   STORIES THXT PX?T h ROF3EL3: PICTUF!!,       STORES THAT SAY




DON'T J I B E WITH THE THEORY THAT CATASTROPHIC GWBAL WARMING IS TAKING ?LACE,
TRY     THIS FACT ON FOR SIZE, MINIWZOLIS HAS ACTUALLY     GOlTEN COLDER.         SO HAS

AL&UT, NEW YORK. 'AND TfIE DEPARTMENT OF AGRICULTURE SAYS THAT ON EOTH COASTS OF

!l"HIS COUNTRY, WINTEX TPIPERXTURES AR€ FIVE TO TEN DEGREES COOLER T"PREVIOUSLY

REPORTED.      SO FOLKS, GRAB HOLD OF YOURSELVES AND GET THE WHOLE STORY BEFORE YOU
M A E UP YOUR MIND.     RIGHT NOW, YOU CAN GET A FREE PACKET OF EASY-TO-UNDERSTAND
MATERIAL ABOUT GLOBAL WARMING,       JUST CALL THIS NUKf3ER: 1-800-346-6269 EXTENSION
1505,     TEAT'S THE PCFORMATION COUNCIL 'FOR THE ENVIRONMENT.       AFIER YOU    READ TIE
FREE MA'IERIALS    THEY SEND YOU, Y O U ' U HAVE A BETIER PICTURE    OF WHAT THE FACTS ARE
AIL ABOUT.      THAT'S 1-800-346-6269 EXTENSION 505. CALL TODAY,         BECAUSE THE BEST
ENYlR0"TAL        POLICY IS BASED ON FACT.




                                                            RICO Statement Exhibit_36
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    May.2, 1991                                                                           c   -




    Bill Brier
    Edison Electric Institute
    701 Pennsylvan.ia Avenue NOW.
    Washington, DC 20004-2696
                                   --
    Information Council for the Environment Test Market -        -
                                                        Ad Materials
    Enclcrsed are the newspaper and radio ads as they will be running in
    Fargo, Flagstaff, and Bowling Green when our test campaiqn begins on
        ---e.       r:-.   .
    May 12. We are still in production on a
    *.x- :..+.__...ccle.2r" '-0 3 6 .   :
                                        :
                                        F
                                                                 . .Bob Ballingc-__..e..
                                                  c-2;; i n :?>-A2 .T' CTL.?.::
                                                                                 radio
                                                                                 - -.-    .ad .t--
                                                                                       ? - .*..
                                                                                                 i t 1. c 9
                                                                                                  .
                                                                                                  I   -   .




    c c z . ~ ; c = e ; r.ex= xee;: anc = e - ' L l sex2 y c yocr~     ct,i Yhez w rezeive it.
    Here's           a listing of what youOll find in this packet:
                1.     Five newspaper ads
                2.     Schedule of the radio spots and newspaper ads for each market
                3.     Four sixty-second radio commercials (on tape), two scripts    .
                4.     Public Relations tour schedule*
                5.     copy of letters that respondents requesting information will
                       receive
                       *Schedule includes Fargo and Flagstaff. Bowling Green
                .      schedule with Dr. Pat Michaels will be completed next week.
    The advertising will begin with full-page newspaper ads in each of the
    markets on May 12, The campaign will conclude on Sunday, June 9,
    Three full-page, two-color newspaper ads will run each of the four
.   weeks of this campaign,
    The cassette tape contains the four radio ads that will run in
    Flagstaff. The first two weeks of the schedule will feature the Dr.
    Bob Balling commercials exclusively. The final two weeks of the radio
    campaign will be an equal rotation of Dr. Balling and Bruce Williams:
    The commercizl rotations in Fargo and Bowling Green will differ. The
    scripts of the Rush Limbaugh commercials apply only to Fargo. These
    commercials will air in only the Rush Limbaugh radio program (11 AM to
    1 PM, Monday through Friday.)   In Fargo, Bruce Williams commercials
    will also run i n only his Monday through Friday, 6 PM to 9 PM program.
    Dr. Balling commercials will air in all other Fargo radio schedules.
    W e will send you the tape of the Rush Limbaugh r a d i o commercials next
    week.
    In Bowling Green, we will rotate three Dr. Balling commercials -for t h e
    entire length of the radio schedule. The "Kentucky .Colder" commercial    -
    w i l l receive increased scheduling during the first two weeks of the
    campaign. The radio schedule will reach approximately 85% of our
    adult 25-54 target audience approximately 19 times in the four weeks
    of this campaign, This is a four-week, 1,600 gross rating point radio
    schedule.                                       RICO Statement Exhibit_37
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Bill Brier
May 2 , 1 9 9 1
Page 2

                                                                             *
The combined newspaper and radio reach i s estimated to be 97% of our
a d u l t 25-54 t a r g e t audience, with a combined frequency of 35,
W e w i l l b e g i n follow-up research on Saturday, June’ 15, to determine
t h e r e s u l t s of this campaign. Those r e s u l t s w i l l be reported to a l l
of our sponsors by August 5 , 1991,




Fred Lukens
r:,/Fy

cc:      G a l e );lappa




                                                            RICO Statement Exhibit_38
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     This report summarizes results of a benchmark survey of public awareness and            ~




     opinion on issues related to global warming conducted in Chattanooga,
     Tennessee, Fargo, North Dakota, and Flagstaff, Arizona.                         r   -




     Methodology

     The survey is based on a total of 1500 interviews, 500 in each of the three aties
     included in the sample. All interviews were conducted by telephone between
     February 13 and February 22,1991. Other important points include the
     following.
.-
            a   For ezch sample of 500 the mar of error is + / 4 4 rentage
                points at the midpoint of the 9Srconfidenc-x i n t e r v r
                All interviews were conducted by trained, rofessional
                interviewers under the supervision of the &bridge Reports
                Field Department;
                After the interviewingw s completed, a 10%sample of the
                interviews was independently validated to ensure that proper
                interviewing techniques were followed;
                All interviews were retuned to Cambridge Reports for coding
                and data processing.

     Objectives

     The survey and analysis were mnducted to identify the following:
                Cunent awareness of and M         t   y with the global
                warmingissue;
                Recent exposure to infomation concerning gIobaI warming,
                including the types of media and sources in which the
                information appeared;
                Responses to various messages concerning global warming

                                              r
                Assessments of the crediiii of various spokejpersons and
                groups on topics related to g obal warming
                 Ke audiences and media for messages concerning
                   %
                 glo aiwanning.




                                                                          RICO Statement Exhibit_39
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ICE:Benchmark                               -3



technjcd   SOUTCS also favor choosing the title "Information C m d l on the
Environment" as the title for ICE,since this organization is perceived as a            .L


technical source, while "Informed Citizens for the Environment" carries both
technical and activist connotations.
                                                                               r   -



As a general strategy, we recommend that ICE concentrate on comparing
possible solutions to the global warming problem, focusing in particular on the
proper role of government, the need for research, and the costliness of
inappropriate or premature legislation. The audience for these messages neecis
to see its personal stake in the issue if they are to become actively engaged and
committed.

More spedfically, the results of this study point toward two possible target
audiences. One possible target audience includes those who are most receptive
to messages describing the motivations and vested interests of people currently
making pronouncements on global warming-for example, the statement that
some members of the media scare the public about global warming to inmease
their audience and their influence. People who respond most favorably to such
statements are older, lesssducated males from larger households, who are not
 typically active infonnation+eekers, and are not likely to be "green" consumers.
Members of this group are skeptid about global warming, prdisposed to favor
 the ICE agenda, and likely to be even more supportive of that agenda fbUowin,o
 exposure to new infoxmation. They are not,however, accustomed to taking
 political action They are good targets for radio advertisements.

Another possible target segment is younger, lower-income women. These
women are more receptive than other audience segments to factual information
concerning the evidence for global warming.They are likely to be "green"
c o m e r s , to believe the earth is warming, and to think the problem-is serious.
However, they are also likely to soften their support for federal legislation after
hearing new information on global warming. These women are good targets for
magazine advertisements.

 A campaign strategy reaching out to these target groups can help to change
 attitudes where change is most likely to occur,and also to strengthen support
 among favorable members of the public.



                                                               RICO Statement Exhibit_40
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.                                                   -5-


                  Overall, a plurali of respondents choose the most conservative
                                   3
                  role for the feder government. Over onethird (36%) of the
                  total sample (three aties combined) say the government should
                  finance more research, while 30%support passage of legislation,
                  and 24% would pass some laws but avoid costly programs.
                  Similar to responses on other measures, Ragstaff residents          r   -

                  (39%) =e more likely than residents of Chattanooga or Fargo
                  (25% each) to back federal legislation without any qualification
                  concerning cost.

        Spedfic responses to an open-ended question indicate that depletion of the ozone
    -   layer dominates topof-mind mncems about global warming.
                  Asked to d e s a i i global warming in their own words, just over
                  onequarter of all r       ndents ate destruction of the ozone
                  layer, followed dose "p"y by changes in the weather and rises in
                  temperature caused by pollution.
                  Only 6% of all respondents name the greenhouse effect when
                  asked to describe what global wanning means to them.

        Audience profile

        In addition to perceptual and attitudinal measures,we also asked respondents
        about certain behaviors which might make them more or less receptive to
        information on global warming, and may also indicate the likelihood that they
        might take action on global warming issues. Thesebehavioral measures are
        included frequently in the anaIyses &&sed in this report, and include political
        activism, environmental activism, and likelihood of infonnation-seeking.
                  Looking at results for one measure of litical activism, just
                                                          g.
                  under onquarter (24%) of all respon ents either contacted an
                  eleaed offiaal, wrote to an editor, or worked for a political
                  candidate during the last ear. Political activism is more
                                             I;
                  common in Flagstaff (31% than in either Chattanooga (22%) or
                  Fargo (18%).
                  Overall, 36%of all respondents have contri'buted to or been
                  active in an environmental cause during the past year, and 22%
                  identify strongly with the label "environmentalist" Combining
                  these two measures, we find that 13%of all respondents in this
                  suntey meet the Cambridge Rep* definition for "green"
                  consumers-very dose to our most recent national figure of 12%
                   (March 1991).




                                                                        RICO Statement Exhibit_41
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    ICE B z n d u n u k                            -7-



    Finzlly, the two statements referring directly to scientistssay that saentists don't
    know whether carbon dioxide is causing global warming, and that some of the
    saentists predicting global warming said twenty years agc that the earth was
    getting colder.                                                                ...
                On average, respondents are as like1 to agree with statements
                about motivations behind public &mation on global
                warming as they are to agree with statements about the
                evidence for global warming.
                On average, respondents are less likely to agree with statements
                about scientists and their theories than the are to agree with
                                                   i      lnff
                statements about motivations for ublic onnation or
                statements about evidence for glo al warming.
                Respondents are most likely to agree with the statement that
                recent satellite data shows the earth is getting warmer.
                Percentages .of"don't know" responses reveal that memkrs of
                the public feel more comfortable expressing opinions on others'
                motwations and tactics than they do expressin opinions on
                                                          K 3
                saentific issues. Nearly all respondents rovi e ratings for
                statements on motivations, whde somew at fewer express
                opinions on evidence, and still fewer are willing to pass
                judgment on scientists.

    To explore these three types of m a a g e s furtha, we calculated an index for each
    set of statements (motivation, evidence, and saentists), based on results of the
    factor analysis. We then divided the sample into low, medium,and high
.   agreement with each index,or set of items, to identify groiips most likely to
    agree or disagree with each type of message..
                 A plurality of Chattanooga residents agrees strongly With
                 rnotixitional statements saying that some groups scare the
                 public about obal warming to promote their own economic
                 mterests, wh et Flagstaff residents are most likely to disagree
                 with these statements, and Fargo residents most often tkke a
                 moderate position.
                 Based on results for the evidence index,Fargo residents are
                 least likely to agree that cunent evidence supports global
                 warming, while Flagstaff residents are more hkel to accept the
                                                                   B
                 evidence. Chattanooga residents are closely &vi ed between
                 low, moderate, and hgh a eement, although they are more
                                            !Y
                 likely than others to g v e " on't know" responses.  -



                                                                 RICO Statement Exhibit_42
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 ,
..   ICE G e x 5 n a r k                             -9-



     A factor analysis perfonned on the fourteen aedibility ratings indicates that
     respondents group information sources into four types: industry spokespersons
                                                                                                *
     (local elean'c company, coal industry,Electric Wormation Council,and Paul
     Harvey); activ&t spokespersons (Ralph Nader, Sierra Club, Carl Sagan,
     Informed Citizens for the Fnvironment); technical spokespersons (Infomdtion
     Council for the Environment, federal environmental offidals,environmental
     saentist, Informed Citizens for the Environment);and individual spokespeaom
     (Bruce Williams,Steven Schneider, Rush Limbaugh). (The second title for ICE-
     Informed Citizens forthe Environment-is perceived as combining attributes of
     activist and technical sources, and is treated as a member of both groups in the
     analysis.)
                  Technical x)urces receiv2 the highest overall credibility ratings,
                  followed dosely by activist sources.
                  Industry sources and individd s kespersons receive lower
                  overall credibility ratings t h n ei3p
                                                       er activist or technical
                . SouTCes.

     Results also indude extreme variations in recognition among the different
     informationsources in the list In fact, combining responses for those who have
     not heard of a source, do not h o w the source's uedibility on global warming, or
     cannot rate the source as aedi5le or not credible, the percentage not rating
     individual sources ranges from 13%(localelectric company) to 92% (Steven
     Scheider).
                  Industry sources are rated by more respondents than other
                  types of s0Ums8with the loisal d&c*company receiving the
                  most ratings, and Paul Harvey second            ._

                  Individual spokespersons (BruceWilliams, Steven Scheider,
                  Rush Limbaugh) have lower overall recognition than other
                        of sources, receiving ratings froman average of only 15%
                  %respondents.
                  In general, recognition for activist and technical sources falls in   .   -
                  between recognrtion for industry sources and recognition for
                  individual spokespersons.




                                                                        RICO Statement Exhibit_43
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ICE Benchmark                                -11-



           nose who a12 most like1 to find activists credible. t i d l y are
      0

                                    b                           YP
           already familiar with glo d W m g issues, and are ikely to
           seek further information on the topic They believe the earth is
           warming, rate the problem as serious, and support action               L

           throdgh federal legislation. Demographicall ,the are most
           likely to be male, between 36 and 45 years orage, &om higher
           education and income groups, or to be "green" consumers.         , .

           Technical soufces receive hi hest credibility ratihgs from
                P                       k
           y o n er females (espeaally ose from 18 to 25 years of age)
           with ower incomes and some colle e education. Members of
                                               E
           this oup are not familiar with glo al warming, althou h they
                                                                   B
           are 1 ely to seek further infomation, and the are goo targets
                                                         E:
           for television advertising. They believe in glo al warming and
           support immediate federal legslation. They tend to rate global
           wanning as a serious problem, and to rate it as even more
           serious after exposure to information on the topic

Attitude change

As we reported earlier in this report, majorities of respondents see global
warming as a problem which is at least somewhat serious, while a plurality
endorse a limited role for the federal government in dealing with the problem.
To identify zudience members who are most likely to undergo attitude change in
responqe to new information, we repeated these two items late in the interview,
after respondents had heard the series of statements concerning global warming.

Comparing results on these key attitude measures, we find that exposure to
information about global warming, regardless of its slant, leads to increases in
perceived seriousnessof global Warming as a problem-most of those who
"switch" attitudes on seriousness of global warming rate the problem as more
serious after hearing the statements in the intenriew. However, the same     ~




messages lead to attitude change in both directions on the proper role for the
federal government in dealing with global warming-respondents are just as
likely to switch to less extreme positions (advocating further research) as they are
  -
to switch to more extreme positions (advocatinglegislation). In general,
Chattanooga residents are more likely to change their positions than are
residents of either Fargo or Flagstaff.
            Overall, nearly two in ten respondents (19%) rate global
            wanning as more serious after hearing the statements in the                I
            intemiew. Notably, Chattanooga residents (24%) are most                    I

            iikel to switch to a more serious rating, compared with Fargo
       .    ( 1 9 4 or Hagstaff (14%).

                                                          RICO Statement Exhibit_44
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ICE Benchnuk                                 -13-



Similarly, we looked at assodations between attitude change during the
interview and the ~VJXS of messages with which respondents tend to agree.              L




          Across the board, perceived seriousness of global warming
          inaeases with exposure to the statements in the interview.           c   .



         The same respondents who express skeptidsm on global
         warming issues nevertheless tend to rate the problem as more
         serious after hearing the statements in the interview.
          Respondents who are most dubious about scientists are likely to
          chan e toward supporting research, and away from supportrng
                B
          legis afioh
          Those who agree that some SOWC~Sscare the public for their
          own ends are more likely to switch toward support of research,
          and away fromsupport of legislation.
          Those who agree most stron ly that the evidence supports
          global warnurig are neverthe ess more likely to switch toward
          su port of research, and less likely to increase their support for
            B
          fe eral legislation on global warming.

Key media

As noted above, three in ten respondents (31%) have heard or seen something
about global warming during the last 30 days. To identify existing sources for
awareness of global warming, we asked this group to identify the medium that
canied the information, as well as whether they saw a news story, a paid
advertisement, or both
          The most common medium for information on global warming
          is television. Nearly half of Chattanooga residents r e d i n g
          recent information on global warming name television as a
          source, compared with fewer than four in e n in Fargo and
          Flagstaff.
          Residents of the three aties are equall like1 to have heard
                                                 X J
          something about global warming on e ra ‘0,or to have read
          something about global warming in a magazine or newspaper.
                              of those recalling recent information on
                                they saw or heard a news story, while one
                                    advertisement and a news story.




                                                             RICO Statement Exhibit_45
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ICE Senchmark                               -15-


         Respondents who switch to a less senous rating of global
         w m i n are more likely to have received their own infomation
         from ratfio or newspapers, compared with those who switch to
         a more serious rating.
                                                                                     *
         Respondents who switch horn favonn legislative solutions
                                                   5
         toward favoring research funding are s ightly less likely to have
         gotten information on global warming fromtelevision,                c   .

         compared with those who switch toward favoring legislation.
         Respondents who switch positions either way-toward research,
         or toward legislation-are unlikely to have gotten infomation
         on global warming from radio.
         Those who switch toward research are more likely to receive
         infomation on global warmin from magazines,compared
                                        7
         with those who switch toward egislative solutions.
         Respondents who switch toward favoring research and
         respondentr who switch toward favorin le 'slation are equally
                                                       k ?
         likely to have received information on g oba warming from
         newspapers.

Conclusion: communication strategies

The results reviewed above suppoft a series of condusions concerning the types           .
of sources and messages to which audiences are likely to respond most
favorably.
          Technical and expert sources have the highest credibility among
          a broad range of members of the public
         T h e InformationCouncil for the Environment can be seen as an
         .experttechnicalsource.                 . .
                                  . .
          Moderate uediiility of      rt or industry sources is assodated .
          with a shift toward the Izagenda.

Therefore, an "approachable" technical expert can present a good case for a mst-
effective solution that meets the joint economic and environmental interests of
.consumersa d industry.




                                                             RICO Statement Exhibit_46
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bafiormed Citizens
for the Environment
                                                RICO Statement Exhibit_47
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              INFORMED ClTlZENS FOR THE ENVIRONMENT
                                     Tiiline




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                iNFORMED CITIZENS FOR THE ENVIRONMENT
                              Test Market Project Tiieline




                                                         .... ...:.+:




                                                          RICO Statement Exhibit_48
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Case 3:22-cv-01550-MAJ Document 4-2 Filed 11/23/22 Page 49 of 165




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                                              RICO Statement Exhibit_49
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DATES:              February, 1992    - August,    1991
                                                                           , -



OBJECTNES:          1) Demonstrate that a consumer-based media
                        awareness program can positively change the
                        opinions of a selected population regarding
                        the validity of global warming.
                    2) Begin to develop a message and strategy for
                        shaping public opinion on a national scale.
                    3) Lay the s o l i d groundwork for a unified
                        national electric industry voice on g l o b a l
                        warming.


PROGRAM
STRATEGIES:         1) Select test markets that meet the following
                        criteria:
                        a) market derives majority of electricity from,
                           coal
                        b) market is home to a member of the House
                            Energy & Commerce Committee or House Ways              &
                            Means Committee
                        c) market i s smaller than #SO, which
                           translates into lower media costs
                        Determine most advantageous population, within
                        specific markets, to base media awareness
                        program.
                        Pre-test opinions of selected population
                        regarding global warming.                  \




                        Focus Group test I . C . E .   name and creative
                        concepts.
                         Proceed with media awareness program,
                         utilizing radio/newspaper advertising and a
                         public relations campaign.
                         Post-test opinions of selected population
                         regarding global warming.        ~




                         Program evaluation.
                         If successful, implement program nationwide.

                                                              RICO Statement Exhibit_50
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RESEARCH
STRATEGY:          Determine most advantageous population, both
                   attitudinally and demographically. Ascertain
                   general level of understanding and measure degree
                   of opinion shifts.
                                                                        c



PUBLIC
RELATIONS
STRATEGY:          The public relations campaign will involve'the
                   research, writing and preparation of background
                   materials for use with the media. A minimum of
                   eight discussion points will be communicated to
                   the media,


CREATNE
STRATEGY:          The radio creative will directly attack the
                   proponents of global warming by relating
                   irrefutable evidence to the contrary, delivered
                   by a believable spokesperson in the radio
                   broadcast industry.
                   The print creative will attack proponents through
                   corn arison of global warming to historical or
                        f:
                   myt ical instances of gloom and doom. Each ad
                   w i l l invite the listener/reader to call or write
                   for further information, thus creating a data .
                   base ,


MEDIA
STRATEGY:           A radio/newspaper execution is recommended for
                    the following reasons:
                    a) believability
                    b) ability to use high frequency (radio) and
                       detailed copy (newspaper)
                    c) cost effectiveness
                    d ) production flexibility


FUNDING:            For the test markets, splitting costs evenly
                    among five participating utilities is recom-
                    mended. If the program is implemented on a
                    national basis, it mi ht be better to determine
                                             g
                    proportionate shares ased on coal-produced kWh.
                    The test market funds will be collected a s
                    follows:
                    First 1/3 of commitment         2/1/91
                    Second 1/3 of commitment        3/1/91
                    Remainder of commitment         4/1/91
                                                      RICO Statement Exhibit_51
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TIMELINE:        Pre-test Research (4 weeks)           2/11/91    -       3/10/91

                  (3 weeks)
                 Focus Croup Test     (4   weeks)       4/1/91    -       4/28/91
                                                                               L

                  (2 weeks)
                 Media Awareness Program ( I w k s )   5/13/91    -   0   -   6/9/91
                  (3 weeks)
                  Post-test Research (3 weeks)           7/1/91   -       7/21/91
                  (2 weeks)
                  Final Presentation                          8/5/91



BUDGET:           $510,000 (three markets)




                                                     RICO Statement Exhibit_52
                                      n
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                                Chattanooga. Tennessee
                                      Test Market



I   EDSA   1   1200 GRPS, 6 full-page ads)
$ 75,000

PUBLIC RELATIONS
$ 24,000

RESEARCH (500 interviews in each of t w o surveys/Focus Group)
$ 43,000


PRODUCTION ( R a d i o / N e w s p a p e r / P h o n e Number/Brochure/Postage)
$ 54,000

TOTAL.         .. .. ..                . . . . . . . . . . $196,000




                                                              RICO Statement Exhibit_53
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                                   Champaign, Illinois
                                       Test Market
                    Terry Bruce/House E n e r g y   &   Commerce Committee
                                                                                     c




                                                                             r   -

         MEDIA (1200 GRPs/8 full-page ads)
     .   $ 53,000


         PUBLIC RELATIONS
         $ 24,000
.-
         RESEARCH (500 inter1 iews in each of two s u n
         $ 43,000


         PRODUCTION (Radio/Newspaper/Phone Number/Brochure/Postage)
         $ 54,000

         TOTAL.   ......                                .   . . . $174,000




                                                              RICO Statement Exhibit_54
               Case 3:22-cv-01550-MAJ Document 4-2 Filed 11/23/22 Page 55 of 165




                                       Flagstaff, Arizona
                                           Test Market



MEDIA (1200 GRPs/8 full-page ads)
$ 25,000

PUBLLTC E L A T I O N S
$ 24,000

RESEARCH       5 0 0 interviews            in each of t w o surveys)
         -=-   4
$ .43;/000              / I

                   /'

       /-
'PRODUCTION (Radio/Newspaper/Phone Number/Brochure/Postage)
$ 54,000


TOTAL.         .              ..   .   .   . .        .- ...           $146,000




                                                                  RICO Statement Exhibit_55
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                           F a r g o , North Dakota
                                T e s t Market
                Byron Dorgan/House Ways    Si    Means Committee


                                                                     r   -
MEDIA (1200 GRPs/8 full-page ads)
$ 47,000

PUBLIC E L A T I O N S
$ 24,000

RESEARCH (500 interviews      in each of t w o surveys/Focus Group)
$ 43,000


PRODUCTION (Radio/Newspapr/Phone Number/Brochure/Postage)
$ 54,000


TOZ'AL.   . . . . . . . . . . . . . . . . . . . . . $168,000




                                                       RICO Statement Exhibit_56
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                P o t e n t i a l Program Names
                                                                         *

      Xnformed C i t i z e n s for t h e Environment
     I n f o r m a t i o n Council - f o r t h e Environment       c .




     I n t e l l i g e n t Concern for t h e Environment       .

        Informed Choices f o r t h e Environment




                                                     RICO Statement Exhibit_57
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                            Climatic Record in Midwest States


Minnesota

Greg Spoden                          61a2964214
State Climatologist

Or. Dick Skaggs                      61a6256643
Univ. of Minn.
Dept of Geography

Dr. Don Baker                        612/62!j-6235
Univ. of Minn.
Prof. of Soil Science


1990 was Minneapolis' 4th warmest year.
1991 has been above average
.it certainly did not show cooling" (GS)

Temperature record started in as pioneer date in the 1820s at Ft. Sneeling and up to current
dates from a farm in Farmington.
Long time warming trend, statistically increasing climate temperature since 1867.

Temperature decrease from 1819 to 1867.
Increase from 1867 through present.
There was a cooling in 1940-1970, but it doesn't show statistically in the record. (DB)

The temperature record is a superior r e a d in urban North America. (OB)

articles:
Journal of Climatic Change
Volume 7, 1985 p. 225236

Journal of Climate Change
Volume 7, 1985 p. 403414

Bulletin of American Meteorology
Volume 41, 1960 p. 18-27




                                                                 RICO Statement Exhibit_58
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EDISON ELECTRIC
INSTITUTE
                                      \




                                                         ,        .. .   -.
May 15,1991                                              1.


0. Mark De Michele
President & CEO
Arizona Public Service Company
D.0        ~Ck5?ps
f          &z
    .-,;srA;X, 85C72-2;22

Dear Mark:
I a m writing to update you on some changes in the Informa.1
                                                           *'on Council for the
Environment's (ICE)advertising and promotional activities in the three test cities
including Flagstaff. You willfind the attached material similar to what I sent you   .
earlier.
However, you should note changes in the "How Much . . ." ad which will be
                                                                    -
running Flagstaff. It is a revised version and contains no graphics it's straight
COPY-

If you have any questions, please let me know.




wlo enclosures
     GaleMappa    -
     Vice President
     Southern Company




                                                       RICO Statement Exhibit_59
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                INFORMATION COUNCIL FOR THE ENVIRONMENT



                                                                                              c
                               NEWSPAPER ROTATION

      Flagstaff                        Fargo                         Bowling Gre'en
 1. F r o s t l i n e          Mpls c o l d e r                      Kent. c o l d e r
 2.  How much (?)              Frost l i n e                         Kent. c o l d e r
 3. F r o s t l i n e          Mpls c o l d e r                      Frost line
 4 . How much (?)               Frost l i n e                        Kent. c o l d e r
 5 . Mpls colder               M p l s colder                        Frost l i n e
 6 . S e r i o u s problem     Serious problem                       S e r i o u s problem
 7 . M p l s colder            How much (money bag)                  .Frost l i n e
 a. How much (?)                Serious problem                      How much
 9. Frostline                  How much (money bag)                  S e r i o u s problem
10. S e r i o u s problem      S e r i o u s problem                 How much
_.   -.- - __
11. Mpls colder
   .              . i .'.!
     . . - - - . .-  . C
                               How much (money be?)
                                c.
                                c   -- - -
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                                             -;j
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                                                                     S € r Z ? Y S FrObleX
                                                                       .. . . . - -
                                                                     4.b..   --*_-




                               RADIO PLACEMENT
   Flagstaff                            Fargo                        Bowling Green
D r . B a l l i n g #1         D r . B a l l i n g #l                D r . B a l l i n g #l
D r . B a l l i n q #2         D r . B a l l i n g 112               D r . B a l l i n g #2
B r u c e W i l l i a m s #1   Rush Limbaugh 41                      Dr. Balling 13
Bruce W i l l i a m s #2       Rush Limbaugh # 2
                               B r u c e Williams #1
                               B r u c e W i l l i a m s #2




                                                                    RICO Statement Exhibit_60
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      PUBLIC RELATIONS TOUR                                           *


               TUESDAY-MAY 14, 1991                           r   .




10:45 a.m.           Appearance on WBKO-Tv's
                     "Midday" hosted by
                     Beverly Kirk.
l:OO p.m.             Meet wi-h echtors anci writers
                      at the Bowling Green
                      Dailv News.
2:30 p.m.            Tape appearance on WKYU-
                     TV's "Outlook1hosted by
                     Barbara Deeb. Tape will also
                     be broadcast on WKYU-FM's
                     "Midday Edition."




                                                 RICO Statement Exhibit_61
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         PUBLIC RELATIONS TOUR                  t




               WEDNESDAY, MAY 15,1991




2:OO p.m.      Tape appearance on Kx4 News
               Conference on KXJB-TV. Program is
               hosted by Kathy Coyle and airs on
               Sundays.
4:OO p.m.       Appear on KTHI-TVs On The Line
                hosted by Steve Poitras. Half-hour
                program.

5 0 0 p.m.      Meeting with editorial staff at
                WAY-TV. Tape interview for
                evening news.




                                                RICO Statement Exhibit_62
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                 I.C.E..
         FULFILLMENT MATERIALS -

           1st Request (Quantities of 5000)
.-
                 *     Dr. Michaels letter #1

                 *     Postcard

                 *     Bushletter

                 *     Colder Minneapolis article
                 *     The Greenhouse Effect..To What Degree?            .




          2nd Request (Quantities of 2000)

                 *     Dr. Michaels letter #2

                 *     The Science of Global-Warming




                                                   RICO Statement Exhibit_63
          Case 3:22-cv-01550-MAJ Document 4-2 Filed 11/23/22 Page 64 of 165


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                                                     FEDERALEXPRESS

                            i,L&
         Arizona Public SeMce Gompany
         400 North 5th Street
.-       Phoenix, AZ 85004


         Ar t prcrised, att.tzh~s’is i&izZix oa     the newspaper and radio ads that will
         begin appearing in three test markets including Flagstaff on May 12. You should
         also note that the campaign includes public relations activities involving the Arizona
         Dailv Sun, KNAZ-lV and KNAU-AM on May 20.

         Of perhaps greater interest is the pre-test telephone interviews with 500 adults in
         Flagstaff (the results are also attached). The data indicates that:
                 . 89% say that they have heard of global warming
                 .    82% claim some familiarity with global warming

                 . 80% claim the problem is somewhat serious while 45% claim it is very
                      serious
                 . 39%     back federal legislation without any qualification of cost

                     . 22% consider themselves “green”consumers
         With this high level of awareness and concern in Flagstaffit will be interesting to
     i
         see how the science approach sells. My concern is that the absence in the
         messages of reasonable approaches to solving the problems of global warming
         may reduce their effectiveness.
         In any case the research results should be useful in providing data that will allow
         the industry to fine tune its messages. Hopefully we’can share this information,
         in a meaningful way, with members of your policy committee at an appropriate
         time.

                                                                    RICO Statement Exhibit_64
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0. Mark DeMichele
May 6, 1991
Page Two                                                                     c




                                                                     <   -



I have informed the Information Council for the Environment (ICE) that you resewe
the right to distance yoursetf from these activities. If you have any questions,
please let me know.

Sincerely,




Enclosures

cc w/o enclosures:
  Gale Klappa
  Southern Company




                                                      RICO Statement Exhibit_65
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                     PUBLIC RELATIONS TOUR
*-

                           WEDNESDAY, MAY 15,1991

         12:30 p.m. Meet with editors and writers at The
                           Fargo Forum.

          2:OO p.m.        Tape appearance on Kx4 News
                           Conference on KXJB-Tv, Program is
                           hosted by Kathy Coyle and airs on
                           Sundays.

           4:OO p.m.        Appear on IKTHI-TVs On The Line
                            hosted by Steve Poitras. Half-hour
                            program.

           5 0 0 p.m.       Meetingwith editorial staff at
                            WAY-TV. Tape interview for
                            evening news.




                                                       RICO Statement Exhibit_66
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                                                          FARGO MARKET

                                                [     May 1991                       J
   Sunday         1      Monday            Tuesaav      1      Wednesday                                              Saturazy




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              5                    6                  7                     a                   9             10
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 orum:             KVOX FM 6 x         KVOX FM 6 x        Forum: Frost           KVOX FM 6 x        Forum: Pick-uc
linneapolis        WDAY FM 5 x         WDAY FM Sx         KVOX FM 6 x            WDAY FM 5 x        MinneaDolis
                   KLTA FM 7 x         KLTA FN 7 x        WDAY FM 5 x            KLTA FM 7 x        KVOX FM 6 x
                   KOWB FM 3 x         KOWBFM 3 x       - KLTAFM 7x              KOWB FM 3 x        WDAY FM Sx
                   KOW8 AN 3 x         KOWB AM 3 x        KOWB FM 3%             KOWB AM 3 x        KLTA Fn 6 x
                   W A Y AN 4 x        WDAY An 4 x        KOWB AM 3x             WOAY AN 4 x        KOWB FM 3 x
                                                          WDAY AM 4 x                               KOWB AM 3 x
                                                                                                    WDAY AM 4 x


              12                  13                 141                    15             16                 17
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                     KVOX FM 5 x       KVOX FM Sx             Forum:             KVOX FM Sx         KVOX FM Sx       orcrm: Seriou!
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                     WDAY FM 4 x       WDAY FM 4 x            MlnneaDolts        W A Y FM 4 x       WDAY F n 4 x     roblem
                     KLTA FM 6 x       KLTAFM6x         . KVOXFR Sx              KLTA FM Sx         KLTA FM 5 x
                     KOWB FM 3 x       KOWB FPI 3 x           WAY Fm 4~          KOWB FM 3x         KOWE FM 3x
                     KOWB AN 3 x       KOWB An 3 x            KLTA FM 5 x        KOWB AN 3 x        KOWB An 3 x
                     WDAY AN 4 x       WDAY AM 4 x            KOWB FM 3 x        WOAY AN 4 x        WDAY AM 4 x
                                                              KOWB AH 3 x
                                                              WOAY AH 4x


                                  2(                 21                 2:                 23                 2r                 25
                   r                   P                                         P
Forum: Pick-u          KVOX FM 4 x     KVOX FM 4 x            FOfum: Pick-1      KVOX FM 4x         Forum: How       . _    .
How Huch               W A Y FM 3 x    WDAY FM 3 x            Serious            W A Y fH 3 x       Much               ......
                       KLTA FM Sx      KLTA Frl 5 x .         Problem            KLTA FM SX         KVOX FM 4 x            ..
                       KOWB FM 3 x     KOWB FM 3 x            KVOX FM 4 x        KOWS FH 3 x        WDAY FM 3 x
                       KOWB AM 3 x     KOWB AM 3 x            WDAY FM 3x         KOWS AN 3 x        KLTA FM 6 x
                       WDAY AM 4 x     WOAY AN 4 x            KLTA FM 5 x        WDAY An 4 x        KOWB FrI 3 x
                                                              KOWB FM 3 x                           KOwB An 3 x
                                                              KOWB A H 3 x                          WOAY An 4 x
                                       I                      WOAY AH 4 x
                                       I
                                                                                         RICO Statement Exhibit_67
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                                                  FLAGSTAFF MARKET

                                            I     J u n e 1991                 1
                                                        Wednesday           Thursday     -                    Fr iaay                 Sztutaay
                                                                                                                       . . . ., .
                                                                                                      ........ . ..- .....
                                                                                                                      ."-- ._._
                                                                                                 .,    ,..     .::.-.:...
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                                                                                                                                                       4
                                                     Arizona Daily        :VNA An 6 x            :VNA An 6 x
                                                     Sun:                 :VNA F M 6 x           :VNA FH 6 x
                                                     Mimeapol Is          HGN FM 6 x             3?GN FM 6 x
                                                     Colder               N F FM 7x              LAFF FM 7 x
                                                     KVNA An 6 x
                                                     KVNA FH 6 x
                                                     KMCN FH 6 x
                                                     KAFF FM 7~       5
                                                                                             6                                  7                  8.
sun:   hSw   nxn




              8                                                      12               13                                    14                    15




             16                                                                      2c                                     21                    2s




             23                                                      2c              27                                     28




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                                                                                   RICO. . Statement Exhibit_68
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                   I f vow have anv ____
                                    ouestions
                                         -      olerse call Simmons Advettls'lna. InC (701 1-746-4573
                                                              . . . . . .                                                                                        -       .     .
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                   Case 3:22-cv-01550-MAJ Document 4-2 Filed 11/23/22 Page 70 of 165


                                                                FlAGSTAFF MARKET-
- .
        Sunday                 nonaav           1     Tuesaav      1        Weancsaay               f nursday




                                                                                           1                     2




                   5   I                    6                      7                       8               .     SI                  10    11
  AfiZOnB Daily
  Sun: F r o s t
                       I   KVNA AM 6 x
                           KVNA Fm 6 x
                           KMCN FM 7 x
                           KAFF FM 8 x
                                                    :VNA AN 6 x
                                                    CVNAFN6x
                                                    CHGN Ft? 7 x
                                                    CAFF FM 8 x
                                                                       ~




                                                                       '
                                                                           rrizona Dally

                                                                           :VNA An 6 x
                                                                           :VNA FM 6 x
                                                                           ;MCN f M 7 x
                                                                                         <VNA AM 6 x
                                                                           bun: How Ruct <VNA F M 6 x
                                                                                               rV1CN FM 7 x
                                                                                               YAFF FM 8 x
                                                                                                                         mlzona Dally
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 Chicken Little?                                                    er.,
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T h e twentieth century has seen    predict far-future global change.
many predictions of global          And the underlying physics of
destruction. In the 1930's, some    the climatic change are still wide
dentists claimed we were in the     open to debate.
middle ofa disastrous warming       If you care about the envimn-
trend. In the mid 1970's, others    ment, but don't care to be
were sure we were entering a
new Ice Age. And so on.             pressured into spending money
It's the same with elobal warm-
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ing. There's no h a evidence it B   Write: Lnfomed                            P
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Earth is warming is weak. Proof     Environment, EO.Box 1513, Grand
that -bon dioxide has been the      Forks,North Dakota 58206 or call
primary cause is nonexistent.       (701)7-573.    Well sendRICO
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                                    facts about global warming.            hrlormcd aizen$
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                                          Reviews of Climate Change Reconsidered


                                                     Climate Change Reconsidered (2009)


             “In a clear, understandable manner that a high school graduate with a few general science
             courses could understand, Climate Change Reconsidered effectively rebuts the UN
             Intergovernmental Panel on Climate Change report that carbon dioxide due to human activity
             causes signi cant global warming. Policymakers and politicians who make decisions on carbon
             dioxide control should read this volume to insure decisions are based on sound and true
             science.”

             – Dr. James H. Rust is a retired professor of nuclear engineering from the Georgia Institute of
             Technology




             “This 800-page plus volume, based on the research of these many scientists, is designed to
             provide a ‘Team B,’ independently examining the same climate data used by the UN sponsored
             Intergovernmental Panel on Climate Change (IPCC). And while the IPCC’s most recent 2007
             report concluded ‘most of the observed increase in global average temperatures since the mid-
             20th century is very likely due to the observed increase in anthropogenic greenhouse gas
             concentrations,’ ‘Team B’ came to the opposite conclusion, that ‘natural causes are very likely
             to be the dominant cause.’



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             “That’s a gentlemanly way of putting it. The nine chapters in this volume devastatingly refute
             the ndings of the turgidly named Fourth Assessment Report of the Intergovernmental Panel
             on Climate Change’s Working Group 1 (Science) released in 2007. Climate Change Reconsidered
             is an immensely important contribution to genuine scienti c debate on issues where
             unscienti c fear-mongering has thus far triumphed. It surely brings closer the day when
             science will once again assume the driver’s seat.”

             – Rael Jean Isaac is a political sociologist and co-author of The Coercive Utopians, published by
             Regnery in 1983.




             “Climate Change Reconsidered is a summary of the climate science that the Intergovernmental
             Panel on Climate Change won’t give you. It offers the results from hundreds of peer-reviewed
             studies in top science journals. For easy reference, it follows the same format as the IPCC’s
             own reports. Just one example of its informing power: The computerized global climate
             models which the IPCC uses to blame humans for the current high global temperatures have –
             incredibly – not been informed of the Medieval Warming (950-1300 AD) or the Roman
             Warming (200 BC to 600 AD), or any of the previous 1,500-year global warming-cooling cycles
             which seabed microfossils now show stretching back at least a million years.

             “If the computers had known about these Dansgaard-Oeschger cycles, they might have
             credited the sun for warming us, instead of scaring us about human-emitted CO2. Climate
             Change Reconsidered tells you the rest of the science story. Don’t accept massive energy taxes
             until you’ve reviewed it.”

             – Dennis Avery, coauthor, Unstoppable Global Warming – Every 1,500 Years




             “I’ve been waiting for this book for twenty years. It was a long wait, but I’m not disappointed.
             Climate Change Reconsidered is a tour de force. It takes on all the alleged evidences of
             catastrophic, manmade global warming and demonstrates, patiently and clearly, why they fail
             to support the conclusion. Its 2 authors and 35 contributors are outstanding scientists with
             unassailable credentials – a fact that, unfortunately, won’t stop movement alarmists from their
             customary ad hominem attacks. The book is chock full of excellent data, analysis, and
             argumentation, sophisticated enough to meet the demands of any expert, yet clearly enough
             written to be accessible to laymen.”

             – E. Calvin Beisner, Ph.D., Cornwall Alliance for the Stewardship of Creation




             “The notion that global warming is an imminent threat was crystallized in the United Nations
             reports (IPCC), which now are treated as the Bible for those hazy on the scienti c rationale. It
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             is therefore timely that a counter report, from the Non-governmental International Panel on
             Climate Change, has appeared. This report presents the case challenging the IPCC reports in a
             coherent and rational way. One cannot but be impressed by the comprehensive scope of the
             report compiled by two distinguished scientists.

             “After reading Climate Change Reconsidered, one is left wondering how such a poorly supported
             scienti c theory could have such political traction. For those that want to get to the bottom of
             this subject, the present work is one of the most accessible expositions of climate change. I
             recommend it without reservation.”

             – Brice Bosnich Ph.D., The University of Chicago (retired)




             “Climate Change Reconsidered, the 2009 report of the Nongovernmental International Panel on
             Climate Change (NIPCC), is a comprehensive 880-page tome that rigorously analyses the IPCC’s
             claim that dangerous global warming has “very likely” been caused by human greenhouse
             emissions. Co-authored by Drs. Craig Idso and Fred Singer, with editing assistance from
             another 30 expert scientists from 16 countries, Climate Change Reconsidered provides a
             comprehensive refutation of IPCC global warming alarmism, based on summary discussion of
             relevant and recent scienti c publications.

             “Climate Change Reconsidered is essential reading for all professional persons who are involved
             with climate change research or policy formulation. It comprises a one-stop-shop where
             readers can nd accurate information about climate change and well-balanced critical
             appraisal of the global warming hype in which the world is presently drowning.”

             – Robert Carter, Hon. FRSNZ, James Cook University (Australia)




             “I have been involved in climate change science since 1988 and by 1992 I realized there was
             very little science to back up the claims of anthropogenic global warming. Ironically, there is
             even less today. The 2009 Report of the Nongovernmental International Panel on Climate
             Change (NIPCC) has hit a home run on the current science on global warming.

             “Unlike the political United Nations Intergovernmental Panel on Climate Change’s 2007 report,
             the NIPCC report cites peer reviewed science that refutes the anthropogenic theory. Some of it
             is forensic-like evidence that shows that the ‘ ngerprint’ of the actual climate over the past 50
             years or so does not match that of greenhouse warming, which is the basis of all computer
             models.

             “My hat is off to the authors of the report. To stand up to the demonization they will certainly
             receive from proponents of anthropogenic warming shows their commitment to the truth
             whatever the cost.”
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             – Michael Coffman, Ph.D., author, Saviors of the Earth?




             “What I like most about the book, in comparison with the various IPCC tomes, is the ease with
             which one can get a quick overview of contemporary research in many different climate-
             science elds. While, in the IPCC case, I always had to nd myself a quiet room and several
             hours to gure out what they were really saying, in the NIPCC case, I nd it easy to read
             whenever I want.

             “It is especially impressive to see the way in which the NIPCC has summarized ndings in the
             beginning sections of the book in a way that will be quick and easy for media to grab quotes
             from (in fact, I challenge open-minded journalists to do that), while, at the same time, going
             into details, with many prominent peer-reviewed scienti c references, on each of the main
             topics in the following chapters.

             “Besides being a good summary of the massive controversy behind the scenes in the climate
             science research community about the causes of the past century’s modest warming, Climate
             Change Reconsidered could make a good text book for university (and advanced senior high
             school classes) climate change courses as well since they do an easily understood and
             accurate review of the related basic science at the beginning of each of the topic-speci c
             chapters.”

             – Tom Harris, Executive Director, International Climate Science Coalition




             “The NIPCC report, Climate Change Reconsidered, is not just an attempt to refute the IPCC, but a
             volume that lls in the gaps left by the IPCC fourth assessment report (FAR). With its emphasis
             on natural variability as a cause for the recent climate changes, it is a must have for serious
             climate scientists who should not just rely on the IPCC FAR alone to get the full picture of our
             current state of knowledge (and what is not known) about climate and climate change.

             Dr. S. Fred Singer and Dr. Craig Idso have done a thorough job in providing climate science
             with this volume and should be commended for their effort.”

             – Anthony R. Lupo, Ph.D., University of Missouri-Columbia




             “Although the original purpose of the Nongovernmental International Panel on Climate
             Change (NIPCC) report was to evaluate the claims of the U.N. Intergovernmental Panel of
             Climate Change (IPCC) of 2007, it has gone far beyond that goal, and now should be accepted
             as the most comprehensive and scienti c reference on climate change and its potential
             effects.
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             “It should be purchased by every public and community library, as well as every college library
             in the U.S. Although the price may be considered steep, it is not expensive by comparison with
             many university textbook reading lists; this volume actually covers the material of several
             ordinary books, with its 689 pages of text, plus appendices. It actually covers climate
             modeling, solar and atmospheric physics, temperature measurement, phenomena of clouds,
             precipitation, sea levels, and glaciology, as related to climate change.

             “The quality of the writing is exemplary, especially for a book which must meet the highest
             scholarly standards. Each important point is clearly explained, and the references are listed
             after each section, with useful article titles in addition to the usual journal date and page. The
             book is very user-friendly, especially if the reader wants to go more deeply into any speci c
             question.”

             – Howard Maccabee, Ph.D., M.D., Alamo, California




             “Among its other achievements, Climate Change Reconsidered helps to re-establish the
             connection between Earth’s environment and extraterrestrial in uences, including cosmic rays.
             Of course, the authors also discuss the effects of terrestrial factors such as CO2 levels, cloud
             cover and rainfall. Their scholarly analysis brings some much-needed realism (and good old-
             fashioned common sense) to the climate change debate.

             Highly informative, Climate Change Reconsidered ought to be required reading for scientists,
             journalists, policymakers, teachers and students. It is an eye-opening read for everyone else
             (concerned citizens, taxpayers, etc.). In short … this book is highly recommended!”

             – William Mellberg, author, Moon Missions




             “This massive 868 page volume is the technical response of the NIPCC (Nongovernmental
             International Panel on Climate Change) to the 3-volume report, Climate Change 2007 issued by
             the United Nations-sponsored IPCC (Intergovernmental Panel on Climate Change). Reading the
             book is an education in itself because it covers practically all aspects of Earth Sciences
             imaginable…

             “Every section and sub-section of the book is copiously referenced with articles peer-reviewed
             in well-established scienti c journals. Some of these articles were written by the contributors
             to the chapters themselves. Most of them, however, were written by hundreds of other
             specialists in the various elds of study. The contributing authors of Climate Change
             Reconsidered are Ph.D. scholars from 16 countries.

             “Climate Change Reconsidered is must reading. It is your second opinion. Will you accept the
             National Health doctors’ diagnosis, or will you listen to the opinions of numerous
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             international, independent doctors?”

             – Ronald A. Wells, Ph.D., University of California, Berkeley, retired




             “The IPCC Report warrants the section-by-section refutation which Climate Change
             Reconsidered (CCR) provides. CCR is a veritable Book of Knowledge for serious scholars and
             should be helpful to sincere policy-makers no longer dependent upon the want of candor and
             want of industry of the IPCC.”

             – Natalie Sirkin (Connecticut Commentary blog site)




             “Climate Change Reconsidered is a comprehensive, authoritative, and de nitive reply to the IPCC
             reports. Every statement or comment is properly referenced, so anyone can check the original
             sources for him or herself. … Climate Change Reconsidered is a major contribution to the global
             warming debate. It should be required reading for every politician, businessman and scientist.
             Highly recommended.”

             – Dr. Gerrit van der Lingen, Geologist/paleoclimatologist living in Christchurch, New Zealand



                                                      Climate Change Reconsidered (2011)


                                              Climate Change Reconsidered II: Physical Science




      The Heartland                       Center for the Study of        Science and                If you discover broken
      Institute                           Carbon Dioxide and             Environmental Policy       links on this site,
      3939 North Wilke                    Global Change                  Project                    please contact the
      Road                                P.O. Box 25697                 1600 South Eads            webmaster.
      Arlington Heights,                  Tempe, AZ 85285                Street, # 712-S
      Illinois 60004                                                     Arlington, VA 22202
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      Email Us                            Email Us                                              page by following a
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                                                                                                CO2Science.org. You
                                                                                                can browse that site
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                                          Reviews of Climate Change Reconsidered


                                                     Climate Change Reconsidered (2009)


                                                      Climate Change Reconsidered (2011)


             One Stop Source of Authoritative and Documented Information
             By Charles G. Battig, MS, MD, science writer

             Climate Change Reconsidered – 2011 Interim Report of the Nongovernmental International Panel
             on Climate Change (NIPCC) will reward the reader searching for a one-stop source of
             authoritative and documented information on the multifaceted topic of climate change. In
             contrast to the United Nations’ Intergovernmental Panel on Climate Change, (IPCC), this
             encyclopedic volume appears to have no preset agenda serving to support the claim of
             catastrophic, manmade climate disruption. Instead, numerous research papers are quoted and
             referenced which serve to illustrate the complexity inherent in understanding the scope of the
             topic and the natural drivers of climate, along with the dif culty in convincingly attributing
             such changes to human origin.

             This compendium of referenced papers on a variety of climate related topics is informative in
             itself, but along the way also serves to counter many of the IPCC claims of anthropogenic
             causation and climate model validity.

             The ten main chapters cover topics ranging from Climate Models and Their Limitations” to
             “Economic and Other Policy Implications.” The open-minded reader will appreciate nding the
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             material presented accessible to those without a background in the climate sciences, yet
             referenced papers accompany the narrative text for those wishing to delve deeper.

             Highly recommended.




             A Huge Debt of Gratitude
             By Alan Caruba, Warning Signs

             We owe a huge debt of gratitude to those courageous scientists that stood their ground
             against the global warming fraud. Recently the Heartland Institute, in concert with the Center
             for the Study of Carbon Dioxide and Global Change, and the Science and Environmental Policy
             Project, published “Climate Change Reconsidered: 2011 Interim Report.” It is 430 pages co-
             authored by Dr. Craig D. Idso, Dr. Robert M. Carter, and Dr. S. Fred Singer, all of whom have
             been among the scientists repeatedly slandered as “global warming deniers” and “skeptics” for
             their efforts to educate the public.

             The report, in careful documented, scienti c language identi es the way the warmist’s
             computer models over-estimated the amount of warming, ignored the fact that increased
             carbon dioxide bene ts plant growth, that there is less melting in the Arctic, Antarctic and on
             mountain tops than claimed, and that there is no sign of acceleration of sea-level rise in recent
             decades.

             A recent Rasmussen survey indicates that upwards of 60% of Americans have concluded that
             humans have nothing to do with “global warming” or any other aspect of the climate. This is
             extraordinary when one considers how the mainstream media, the curriculums in the nation’s
             schools, and the unceasing efforts of major environmental organizations have tried to impose
             the global warming claims on the public.




             An Extraordinary Achievement
             By Paul Driessen, JD

             The 2011 edition of Climate Change Reconsidered is a quite extraordinary achievement. It
             should put to rest once and for all any notion that “the science is settled” on the subject of
             global warming, or that humanity and our planet face an imminent manmade climate change
             disaster.

             Prepared by eleven highly accomplished US, Canadian and Australian climate researchers and
             scholars, this 430-page report is not just extensively researched and footnoted. It covers every
             important aspect of climate change, climate research, and the positive and negative effects of
             energy use, carbon dioxide, and global warming and cooling – on plant and animal species,
             and human lives and livelihoods.
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             Equally important, the introductory overviews to each of the ten chapters are easy to read and
             comprehend, even for people who don’t have extensive backgrounds in science, economics,
             statistics or public policy – meaning most of the population. The overviews cover all the most
             vital issues addressed in each chapter, and do so in a way that makes Climate Change
             Reconsidered especially valuable for legislators, regulators, journalists, corporate executives,
             judges, educators and other people who need to know and understand issues that are being
             used to justify major changes in the energy, economic, agricultural, corporate, legal and social
             structures of every nation.

             Three vitally important conclusions are inevitable from reading this report. First, our
             knowledge of climate change, its causes and effects is in its infancy. We cannot afford to base
             fundamental energy and other public policy decisions on elementary knowledge, computer
             models and assertions by a UN-sponsored panel of experts that have been roundly and
             properly criticized for violating nearly every canon of scienti c analysis, integrity, transparency
             and accountability.

             Second, both recorded human history and Earth’s geologic history make it abundantly clear
             that climate change is nothing new. Our planet and its human, plant and animal inhabitants
             have experienced frequent, profound, often sudden and frequently disastrous warming and
             cooling, ood and drought cycles over millions and billions of years. Nature rules our planet –
             not humans or manmade “greenhouse gases.” The complex and powerful forces that govern
             our climate are still only poorly understood, and far more potent than anything humans do.
             Moreover, throughout history, periods of warming have been bene cial for all our planet’s
             species, whereas periods of cooling have often been disastrous.

             Third, coping with and adapting to climate changes require ingenuity, technology, energy and
             wealth. However, it is precisely these essentials – especially access to abundant, reliable,
             affordable energy – that are most at risk under the agendas being promoted by global
             warming (climate change) alarmists. That in itself is another reason why legislators, regulators,
             judges and voters should read this report.

             In short, Climate Change Reconsidered is a thoughtful, thought-provoking, cool-headed antidote
             to the alarmism that has been driving far too many policies, laws, regulations and other
             decisions all over the world in recent years. It underscores the “precautionary principle” that
             SHOULD be applied here: Climate alarmists must prove, with clear and convincing evidence,
             that we face an imminent manmade climate disaster, and that their “solutions” will avert that
             disaster, without creating even bigger problems – before any such prescriptions are
             implemented. They have a long way to go to make that case.




             Like Showing a Cross to a Vampire
             By Peter Ferrara, forbes.com, 21/01/2011


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             The truth is a vigorous global scienti c debate persists over whether man’s use of carbon-
             based fuels threatens to cause catastrophic global warming, and the media not reporting that
             is not performing journalism. The most authoritative presentation of this debate can be found
             in the 856 page, Climate Change Reconsidered, published by the Heartland Institute in 2009.
             This careful, thoroughly scienti c volume co- authored by dozens of fully credentialed
             scientists comprehensively addresses every aspect of global warming, and indicates that
             natural causes are primarily responsible for climate patterns of the last century. Heartland has
             just published a follow up 416 page Interim Report updating the debate.

             When you run across a Knight Templar threatening you with a lance and a sword unless you
             confess the truth of catastrophic man caused global warming, ask him for his rebuttal to
             Climate Change Reconsidered. You will nd the effect is like showing a cross to a vampire.
             Indeed, the latest and best work actually provides scienti c proof that the man-caused global
             warming catechism is false.




             Worth far more than its weight in gold
             By Tom Harris, president, International Climate Science Coalition

             From the perspective of the International Climate Science Coalition, this book, “Climate
             Change Reconsidered: 2011 Interim Report of the Nongovernmental International Panel on
             Climate Change” is worth far more than its weight in gold.

             The value of this document is that it really has two parts – one, a brief “Introduction” at the
             beginning of each chapter that anyone, even people untrained in the eld, can quickly read to
             understand, in general terms, where of cial climate science is off base. The second part of
             each chapter goes through the evidence for each introduction.

             No one anywhere in the world has ever produced a document of this nature that is so easy to
             read, directly applicable to today’s most discussed topics, and yet so extensively referenced.

             While it is worthwhile to read the whole report, of course, reporters and government of cials
             need to at least read the introductions to get a handle on what the UN IPCC has done wrong
             or misrepresents.

             History will record the NIPCC as the most signi cant contribution any person or group on the
             climate realist side of the debate made to helping society get back on track towards making
             climate and energy decisions that actually help the environment and society.

             Congrats to Heartland and their lead science editors as follows for this massive and important
             work: Craig D. Idso, PhD; Professor Robert Carter, PhD and Professor S. Fred Singer, PhD.

             I boost this document whenever I speak or appear in media and always direct people to the
             site […] There is nothing like it anywhere else.
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             Climate Change: The Science
             By Roger Helmer (Member of the European Parliament)

             Maybe it’s because of the huge success on the Amazon Best-Seller lists of popular books
             debunking climate hysteria that true believers insist that “there is no peer-reviewed science
             challenging the consensus on climate change”. Maybe these claims are also based on
             prejudice, hubris and a good dash of nancial interest and rent-seeking.

             Of course they’re wrong even in their own terms. Many of the popular best-sellers include
             copious and detailed references to peer-reviewed science. Even “State of Fear”, the Michael
             Crichton novel based on the climate issue, while avowedly ction, foot-noted a great deal of
             serious science.

             And as the old proverb has it, people in glass houses should be very careful about throwing
             stones. We’ve been told many times that the regular IPCC reports represent a clear consensus
             of the Scienti c Community on the issue, and are based solely on peer-reviewed science. If
             only. As we’ve seen over the last couple of years, many of the more outlandish and alarmist
             claims in the IPCC reports have been based not on peer-reviewed science, but on “grey
             literature”– the propaganda sheets and press releases distributed by fanatical green NGOs
             (many of which are part-funded by the European Commission – but that’s another story).

             But for those who prefer their science hard-core, not populist, hope is at hand. Indeed it’s been
             at hand for some time, in the form of the NIPCC (Nongovernmental International Panel on
             Climate Change) Report. First published in 2009, we now have the updated “2011 Interim
             Report,” published by the Heartland Institute (whose conferences I have been privileged to
             attend). http://www.nipccreport.org/reports/2011/2011report.html

             The report is authored by Fred Singer and Craig Idso (USA), and Robert (Bob) Carter of
             Australia — all of whom I have had the pleasure of meeting. I have hosted Fred Singer in
             Brussels more than once. All three are acknowledged experts in their respective elds. Fred is
             a distinguished atmospheric physicist and environmental scientist. Bob Carter is a geologist
             specialises specializing in palaeontology, stratigraphy, marine geology, and environmental
             science.

             Their report is not easy reading for non-scientists, though the executive summary is very
             accessible. Many will treat it as a highly authoritative source of reference. It is in particular a
             standing rebuke to all those alarmists who deny the existence of hard science supporting the
             sceptical case. And it makes considerable use of material quoted in the alarmist IPCC reports –
             some of which, properly interpreted, supports the case against the alarmist “consensus”.

             The authors say “we are not saying that anthropogenic greenhouse gases cannot produce
             some warming, or have not in the past. Our conclusion is that the evidence shows they are not
             playing a substantial role”. And they add “the net effect of continued warming and rising
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             carbon dioxide concentrations in the atmosphere is most likely to be bene cial to humans,
             plants and wildlife”.

             Given the increasing realisation that climate mitigation efforts are creating an economic crisis,
             and increasing popular scepticism about the alarmist scenario, this is a timely publication, and
             a key resource for all of us who are arguing for common sense.




             Study Claims Global Warming is ‘Bene cial’ for Human Health
             International Business Times, September 15, 2011

             A new study by three non-pro t climate research organizations has claimed that global
             warming is more likely to “improve rather than harm human health.”

             The study by Heartland Institute, Center for the Study of Carbon Dioxide and Global Change,
             and Science and Environmental Policy Project (SEPP) says “mankind will be much better off in
             the year 2100 than it is today and therefore able to adapt to whatever challenges climate
             change presents.”

             However, this “ nding” completely contradicts the observations and predictions of most
             researchers in the world. It directly challenges the ndings of the United Nations’
             Intergovernmental Panel on Climate Change (IPCC) report.

             The “Climate Change Reconsidered: 2011 Interim Report” was co-authored by a team of
             scientists recruited and led by Craig D. Idso, Robert Carter and S. Fred Singer.

             It asserts that manmade greenhouse gases do not play a “substantial role” in climate change
             and that previous reports about the effects of global warming overestimated the situation and
             “failed to incorporate chemical and biological processes, which are as important as the
             physical ones.”

             However, the conclusions of the study contradict the ndings of the widely cited reports of the
             IPCC and many climate research organizations. The IPCC says that human activities (manmade
             greenhouse gases) are actually responsible for climate change. According to it, CO2
             contributes to the melting of polar ice caps, rising sea levels, reduced Arctic ice cover and
             alarming changes in the environment.

             The authors of the new report say “the net effect of continued warming and rising carbon
             dioxide concentrations in the atmosphere is most likely to be bene cial to humans, plants, and
             wildlife.”

             The report says that “global warming is more likely to improve rather than harm human health
             because rising temperatures lead to a greater reduction in winter deaths than the increase
             they cause in summer deaths.”
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             The researchers found that global warming “bene ts” not only mammals but amphibians,
             birds, butter ies and insects also bene t from its myriad ecological effects.

             The reports also states that the Medieval Warm Period of approximately 1,000 years ago was
             both “global and warmer than today’s world.”

             The latest research reveals that corals and other forms of aquatic life have effective adaptive
             responses to climate change enabling them to ourish.

             It says that averting hunger and ecological destruction in the future can be done by increasing
             crop yield, which will be aided by rising temperatures and atmospheric CO2 concentrations.



             Climate Change: Global Warming May be Bene cial
             By Rebecca Terrell, The New American

             “Global warming is more likely to improve rather than harm human health,” according to a new
             study published by three non-pro t climate research organizations. Climate Change
             Reconsidered: 2011 Interim Report directly challenges ndings of the United Nations’
             Intergovernmental Panel on Climate Change (IPCC), which publishes regular assessment
             reports used by governments worldwide, including our own, to form public environmental
             policy. The 430-page report includes data largely ignored by IPCC.

             Editors of the study conclude anthropogenic (manmade) greenhouse gases (GHG) “are not
             playing a substantial role” in global temperature increases during the past century, contrary to
             IPCC claims that human activities are to blame. They acknowledge that rising levels of GHG
             certainly contribute to climate change, but they nd natural sources to be the main cause.
             Furthermore, the authors hail this as a harbinger of good things to come, explaining “the net
             effect of continued warming and rising carbon dioxide concentrations in the atmosphere is
             most likely to be bene cial to humans, plants and wildlife.”

             A press release promoting the report points out the IPCC is “already under severe criticism for
             violating the requirements of academic peer review and relying on secondary sources.” Climate
             Change Reconsidered presents major peer-reviewed scienti c evidence refuting UN claims.

             One key nding is evidence that IPCC climate models used to estimate warming fail to include
             several important environmental variables and therefore routinely over-estimate results. The
             report nds no proof to back up IPCC hysteria that blames CO2 for melting polar ice caps,
             rising sea levels, disastrous changes in ocean circulation, or calamitous differences in
             precipitation patterns and river ows.

             In fact, the report staunchly defends positive effects of carbon dioxide. “More CO2 promotes
             more plant growth both on land and throughout the surface waters of the world’s oceans,” the
             authors explain. “This vast assemblage of plant life… [tends] to counteract the heating effects

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             of CO2’s thermal radiative forcing.” Ecological effects include increasing crop yields, improving
             adaptive responses of aquatic life, and health bene ts for both people and animals.

             The study also reveals Earth’s average temperatures during the Medieval Warm Period, which
             spanned the prosperous 10th to 13th centuries, were warmer than current temperatures even
             though there was 28 percent less atmospheric CO2 then. And it predicts more weather-related
             prosperity. “Even in worst-case scenarios, mankind will be much better off in the year 2100
             than it is today, and therefore able to adapt to whatever challenges climate change presents.”

             Three organizations sponsored Climate Change Reconsidered: The Heartland Institute, The
             Center for the Study of Carbon Dioxide and Global Change,and the Science and Environmental
             Policy Project. The main authors are Craig D. Idso, Ph.D., editor of the online magazine CO2
             Science, marine geologist Robert M. Carter, Ph.D., a research professor at Australia’s James Cook
             University, and atmospheric physicist S. Fred Singer, Ph.D., who was the rst director of the
             U.S. Weather Satellite Service. Eight other climate researchers contributed to the study. The
             team is already working on a follow-up volume due for publication in 2013.

             The full report is available here at the Nongovernmental International Panel on Climate
             Change (NIPCC) website.




             Other sightings…

             The book was required reading for a course called “Climate Change Leadership – Power,
             Politics and Culture,” Spring Semester 2012, CEMUS Education, Uppsala Centre for Sustainable
             Development, CSD Uppsala, Sweden.

             The book is cited in this peer-reviewed article: Karen Akerlof, Katherine E. Rowan, Dennis
             Fitzgerald, and Andrew Y. Cedeno, “Communication of climate projections in US media amid
             politicization of model science,” Nature Climate Change, May 20, 2012, DOI:
             10.1038/NCLIMATE1542.

             The book has been frequently cited by Tom Harris, president of the International Climate
             Science Coalition, in op-eds and letters to the editor and in interviews on radio and television
             in Canada and world-wide.



                                              Climate Change Reconsidered II: Physical Science




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                                                                         empower people.

                                                                  Heartland focuses on effectively marketing the
                                                                  work of individuals and organizations that
                                                                  share its concern over the retreat of individual
            freedom and growth of government power in the U.S. In 2012, Heartland was acknowledged by The
            Economist to be “the world’s most prominent think tank promoting skepticism about man-made
            climate change.” The New York Times calls it “the primary American organization pushing climate
            change skepticism.”

            Heartland operates PolicyBot, an online clearinghouse for the work of some 350 think tanks and
            advocacy groups containing more than 35,000 research documents. It also sends three monthly
            policy newspapers – Budget & Tax News, Environment & Climate News, and School Reform News – to
            every national and state elected of cial in the United States, as well as thousands of civic and
            business leaders. It also produces books, policy studies, booklets, podcasts, and videos. More than
            250 elected of cials are members of Heartland’s Legislative Forum, and some 500 academics and
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            experts are members of its Board of Policy Advisors. During 2017, The Heartland Institute raised
            approximately $5.8 million in support from approximately 5,500 individual, foundation, and
            corporate supporters. Its 2017 income came from the following sources: Individuals, 70%,
            foundations, 22%, corporations, 6% . Contributions are tax-deductible under Section 501(c)(3) of the
            Internal Revenue Code.

            Heartland has been involved in the debate over climate change since 1994, when it produced and
            published Eco-Sanity: A Common-sense Guide to Environmentalism, a Templeton Prize-winning book
            coauthored by Joseph Bast, Richard Rue, and Peter J. Hill, that identi ed man-made global warming
            as a highly speculative theory being advanced for ideological rather than scienti c reasons. Since
            then it has created and distributed more than three million books, videos, and booklets on climate
            change and worked with allies in two dozen countries. It has hosted 12 International Conferences on
            Climate Change attracting a total of some 4,000 attendees.

            Heartland’s role is edit, proof, publish, and promote the NIPCC reports; create an international
            mailing list of scientists, journalists, policymakers, and civic and business leaders to send the book
            and promotional material to; create promotional material; design and place ads; and produce a
            communications program to get the authors of the book into the mainstream and online media.

            Contact information:

            The Heartland Institute
            3939 N. Wilke Road
            Arlington Heights, IL 60004
            phone 312/377-4000
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                                             Science and Environmental Policy Project (SEPP)




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                                                     Climate Change Reconsidered (2009)


                                                      Climate Change Reconsidered (2011)


                                              Climate Change Reconsidered II: Physical Science


             “I fully support the efforts of the Nongovernmental International Panel on Climate Change
             (NIPCC) and publication of its latest report, Climate Change Reconsidered II: Physical Science, to
             help the general public to understand the reality of global climate change.”

             Kumar Raina
             Former Deputy Director General
             Geological Survey of India




             “I was glad to see that a new report was coming from the NIPCC. The work of this group of
             scientists to present the evidence for natural climate warming and climate change is an
             essential counter-balance to the biased reporting of the IPCC. They have brought to focus a
             range of peer-reviewed publications showing that natural forces have in the past and continue
             today to dominate the climate signal. Considering the recent evidence that climate models
             have failed to predict the attening of the global temperature curve, and that global warming
             seems to have ended some 15 years ago, the work of the NIPCC is particularly important.”
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             Ian Clark
             Department of Earth Sciences
             University of Ottawa, Canada




             “The CCR-II report correctly explains that most of the reports on global warming and its
             impacts on sea-level rise, ice melts, glacial retreats, impact on crop production, extreme
             weather events, rainfall changes, etc. have not properly considered factors such as physical
             impacts of human activities, natural variability in climate, lopsided models used in the
             prediction of production estimates, etc. There is a need to look into these phenomena at local
             and regional scales before sensationalization of global warming-related studies.”

             S. Jeevananda Reddy
             Former Chief Technical Advisor
             United Nations World Meteorological Organization




             “NIPCC’s CCR-II report should open the eyes of world leaders who have fallen prey to the
             scandalous climate dictates by the IPCC. People are already suffering the consequences of
             sub-prime nancial instruments. Let them not suffer more from IPCC’s sub-prime climate
             science and models. That is the stark message of the NIPCC’s CCR-II report.”

             M. I. Bhat
             Formerly Professor and Head
             Department of Geology and Geophysics
             University of Kashmir




             “The claim by the UN IPCC that ‘global sea level is rising at an enhanced rate and swamping
             tropical coral atolls’ does NOT agree with observational facts, and must hence be discarded as
             a serious disinformation. This is well taken in the CCR-II report.”

             Nils-Axel Mörner
             Emeritus Professor of Paleogeophysics & Geodynamics,
             Stockholm University, Sweden




             “Library shelves are cluttered with books on global warming. The problem is identifying which
             ones are worth reading. The NIPCC’s CCR-II report is one of these. Its coverage of the topic is
             comprehensive without being super cial. Itsorts through con icting claims made by scientists

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             and highlights mounting evidence that climate sensitivity to carbon dioxide increase is lower
             than climate models have until now assumed.”

             Chris de Freitas
             School of Environment
             The University of Auckland, New Zealand




             “Climate Change Reconsidered is simply the most comprehensive documentation of the case
             against climate alarmism ever produced. Basing policy on the scienti cally incomplete and
             internally inconsistent reports of the UN’s Intergovernmental Panel on Climate Change is no
             longer controversial – Climate Change Reconsidered shows that it is absolutely foolhardy, and
             anyone doing so is risking humiliation. It is a must-read for anyone who is accountable to the
             public, and it needs to be taken very, very seriously.”

             Patrick J. Michaels
             Director, Center for the Study of Science
             Cato Institute




             “CCR-II provides scientists, policy makers and other interested parties information related to
             the current state of knowledge in atmospheric studies. Rather than coming from a pre-
             determined politicized position that is typical of the IPCC, the NIPCC constrains itself to the
             scienti c process so as to provide objective information. If we (scientists) are honest, we
             understand that the study of atmospheric processes/dynamics is in its infancy. Consequently,
             the work of the NIPCC and its most recent report is very important. It is time to move away
             from politicized science back to science – this is what NIPCC is demonstrating by example.”

             Bruce Borders
             Professor of Forest Biometrics
             Warnell School of Forestry and Natural Resources
             University of Georgia




             “The NIPCC’s new report, Climate Change Reconsidered II: Physical Science, res a scienti c
             cannon shot across the bow of the quasi-religious human-caused global warming movement
             by presenting data, facts, and scienti c method constructs of climate change science. I only
             wish the IPCC would become as objective. A recent column by a nationally recognized writer
             recalled Syria outlawing yo-yos in 1933 because they thought that yo-yo motion caused
             drought. The NIPCC report documents that the AGW movement has created its own yo-yo
             rather than shedding light on how Earth dynamic systems change with time. I applaud the

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             NIPCC for bringing the scienti c method back into what should always have been a scienti c
             debate.

             Lee C. Gerhard
             Senior Scientist Emeritus, University of Kansas
             Past Director and State Geologist
             Kansas Geological Survey




             “I support [the work of the NIPCC] because I am convinced that the whole eld of climate and
             climate change urgently needs an open debate between several ‘schools of thought,’ in
             science and well as other disciplines , many of which jumped on the IPCC bandwagon far too
             readily. Climate, and even more so impacts and responses, are far too complex and important
             to be left to an of cial body like the IPCC.”

             Sonja A.Boehmer-Christiansen
             Reader Emeritus, Department of Geography
             Hull University
             Editor, Energy&Environment




             “The NIPCC report Climate Change Reconsidered II is a crucial document to get science right:
             Billions of $$ are being spent in research based on the assumption that human emissions of
             CO2 drive dangerous climate change. Contemplating relevant peer-reviewed scienti c
             literature, the CCR-II shows us why this basic assumption is wrong, turning irrelevant for
             society the results of a considerable part of the costly research carried out by the ‘consensus
             scienti c community’ endorsing IPCC climate alarmism.”

             Albrecht Glatzle
             Agro-Biologist
             Retired Director of Research, INTTAS




             MORE REVIEWS:

             A Realistic View of the Climate
             By John Hinderaker, Power Line, Sep 18, 2013

             Political Climate
             By Staff Writers, ICECAP, Sep 19, 2013



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             New Science Report Debunks Climate Scare
             By Staff Writer, ICSC, Sep 17, 2013

             Real Climate Science the IPCC Doesn’t Want You to See
             By Paul Driessen, WUWT, Sep 19, 2013

             Still no Warming…..Except Between IPCC and NIPCC!
             By Geoff Brown, NCTCS, Sep 21, 2013

             Evaluation of ‘Climate Change Reconsidered II – Physical Science’
             By Dr. Martin Hertzberg, Principia Scienti c, Oct 29, 2013

             A Science-Based Rebuttal to Global Warming Alarmism
             by Steve Goreham, Sept. 11, 2013

             Back at Ya, IPCC: ‘Climate Change Reconsidered II: Physical Science’ (Part II)
             by Paul Driessen, MasterResource.com, September 24, 2013




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            Climate Lessons
            Climate Policy, The Heritage Foundation
            Climate Resistance
            Climate Scientists’ Register
            Collide-a-Scape (Discover Magazine)
            Cooler Heads Digest
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            GlobalClimateScam.com            Reviews     Replies to Critics  
            Global Science Report
            GlobalWarming.org
            Global Warming, Cato Institute
            Gust of Hot Air by Jonathan Lowe
            Haunting the Library
            ICECAP by Joseph D’Aleo
            International Climate Science Coalition
            International Conferences on Climate Change, The Heartland Institute
            JoNova, hosted by Joanne Nova
            Judy Curry
            Junk Science by Steve Milloy
            Master Resource
            Met Of ce
            Mike Hulme
            Nigel Calder
            Nongovernmental International Panel on Climate Change by Craig Idso et al.
            Not a Lot of People Know That by Paul Homewood
            NoTricksZone by Pierre L. Gosselin
            Paul Hudson
            Polar Bear Science by Susan Crockford
            Power for USA
            Rational Optimist by Matt Ridley
            RealClimateGate
            Richard Tol
            Roy Spencer
            Science and Environmental Policy Project (SEPP)
            Science of Doom
            Science Media Centre by Fiona Fox
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            Shub Niggurath
            Simon Donner
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            Surface temps
            Talking About the Weather by Harold Ambler
            Tom Nelson
            View from Here
            Watts Up With That? by Anthony Watts




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                                                         Media Coverage


                                                          Television and Radio


             Fox News Channel: “Special Report with Bret Baier”



                         NIPCC Climate Report Covered on "Special Report with Bret Baier"




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             KUSI News San Diego: “San Diego People”



                         John Coleman of KUSI: How the Global Warming Scare Began




             Rush Limbaugh Show: Consensus! 50 Scientists: Evidence Leans Heavily Against Man-Made
             Global Warming



                         Rush Limbaugh cites NIPCC in Climate Change Talk




             U-T TV: Dr. S. Fred Singer, Dr. Robert Carter, and Heartland Institute President Joe Bast on The
             Roger Hedgecock Show.



                         NIPCC Team Talking 'Climate Change R…


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             Fox News Channel, Report: Global Warming Claims Exaggerated

             CFRA in Ottawa, Canada: Tom Harris, executive director of the International Climate Science
             Coalition, talks about Climate Change Reconsidered II: Physical Science on the “Nick at Night”
             show on Newstalk Radio 580.



                         "Climate Change Reconsidered-II" - correcting UN climate alarmis…




                                                       News Reports


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                                            Links             Reviews      Replies to Critics      




                                                                 Replies to Critics


            The Nongovernmental International Panel on Climate Change has been vigorously attacked by
            some environmentalists and global warming alarmists who view it as a threat to their claim of a
            “consensus” in favor of their extreme views. We reply to some of their speci c comments in the
            essays linked below. Most of these criticisms simply recycle claims about science, consensus, and
            The Heartland Institute that have been debunked many times already. For a broader reply to the
            critics of Heartland and NIPCC, please click here.

            For reviews of CCR-II by real scientists, go here.

            Heartland Institute Replies to the National Science Teachers Association
            April 24, 2017

            Heartland Replies to Reps. Grijalva, Johnson, and Scott
            April 3, 2017

            Heartland Replies to Michael Mann and Naomi Oreskes
            January 11, 2016

            Heartland Replies to Physics Today: Spencer Weart’s One-sided and Incomplete History of Climate
            Policy
            October 22, 2015

            Response to Keith Peterman, a Critic of Climate Realists and the NIPCC Report
            April 28, 2014
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            Response to the British Parliament’s Request for Critiques of the IPCC 5th Assessment Review
            December 17, 2013

            Reply to Emil Karlsson, “NIPCC and Climate Change Denialism,” DebunkingDenialism.com
            October 31, 2013

            Reply to Graham Wayne, “US school in ltration attempt by Heartland’s IPCC Parody”
            October 30, 2013

            Reply to Steven Newton, “The Alternative Reality of the Heartland Institute’s ‘NIPCC’ Report”
            October 28, 2013

            Why Would These Scientists Lie?
            October 14, 2013

            Reply to Michael J.I. Brown, “Adversaries, zombies and NIPCC climate pseudoscience”
            September 26, 2013

            David Suzuki Attacks Climate Science
            September 25, 2013

            Reply to ClimateScienceWatch.com, “Heartland Institute and its NIPCC report fail the credibility
            test”
            September 9, 2013




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                                               Reviews of Why Scientists Disagree


            “This book by climate scientists Craig D. Idso, Robert M. Carter, and S. Fred Singer is a tour de force
            on the scienti c debate about global warming. The book is relatively short, just 101 pages divided
            into seven chapters. Each chapter leads off with a summary of key ndings, and each chapter
            section is supported by many references to the scienti c literature. … Many books and papers about
            global warming contain many, sometimes confusing, graphs. Not this one. Some readers may be
            happy to know that there are only three graphs in the whole book. The authors get right to the
            point with their succinct, easy-to-read explanations. … I highly recommend this book for those who
            want to know the real story of global warming, and I recommend it especially for those who believe
            the IPCC and government propaganda.”

            Jonathan DuHamel, Arizona Daily Independent,
            https://arizonadailyindependent.com/2016/02/01/why-scientists-disagree-about-global-warming-
            book-review/




            “Craig Idso, Robert Carter and S. Fred Singer tackled climate change alarmism in the book, ‘Why
            Scientists Disagree About Global Warming: The NIPCC Report on Scienti c Consensus,’ published by
            the Heartland Institute. As much as the liberal media, liberal academics and pundits tell Americans
            that the earth is too warm and human beings are the cause for a spike in weather and temperature
            changes, there is little-to-no scienti c consensus to support these assertions…. [I]t is clear that the
            climate change agenda turns a blind eye to neutral and impartial studies of the subject.”


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            Spencer Irvine, Accuracy in Academia, http://www.academia.org/why-scientists-disagree-about-
            global-warming/




            “Besides being a synopsis of a much larger work — a chapter in a forthcoming volume titled
            ‘Climate Change Reconsidered II: Bene ts and Costs of Fossil Fuels’ — the book is a rejoinder to the
            sound-bite science that is so popular today. ‘Why Scientists Disagree About Global Warming’ chews
            up these sound bites, such as: ‘97 percent of scientists agree’ with the conclusion that humans are
            causing catastrophic climate change; or, skeptics of the ‘consensus view’ are paid off by big fossil
            fuel industries. ‘Why Scientists Disagree About Global Warming’ is a virtual handbook of well-
            documented arguments and cogent perspective that counter nearly every assertion given to ‘prove’
            that human beings are responsible for climate disaster.”

            Anthony J. Sadar, Washington Times, http://www.washingtontimes.com/news/2016/mar/21/book-
            review-why-scientists-disagree-about-global-w/




            “[A]s COP-21 got under way, the Nongovernmental International Panel on Climate Change (NIPCC)
            released a new book titled ‘Why Scientists Disagree about Global Warming: The NIPCC Report on
            Consensus’. This important new book lays bare and refutes the claim that there is a ‘scienti c
            consensus’ on the causes and consequences of climate change… [I]t’s a breath of fresh air that this
            book has been published to coincide with the Kabuki theatre happening right now in Paris at COP-
            21.

            Editors, Marcellus Drilling News, http://marcellusdrilling.com/2015/12/free-book-why-scientists-
            disagree-about-global-warming/




            “We are told on a daily basis that ‘97 percent’ of climate scientists agree that man-made climate
            change will doom the world within a generation. But since nothing the scientists predict ever
            comes true – and they keep pushing the climate doomsday farther out – we’ve wondered if the
            vast majority of scientists really believe it.This new book from the Heartland Institute debunks the
            idea of consensus totally. Written by three insider Ph.D.’s, it ‘comprehensively and speci cally’ rebuts
            the surveys and studies used to support claims science is of one mind. It goes on to summarize the
            evidence proving that there is disagreement – and then it explains why the scientists disagree. This
            book is useful if you’re tired of explaining to your low-information friends why climate change is a
            fraud.”

            Lynn Woolley, Logic Minute, http://www.wbdaily.com/climate-change/book-review-why-scientists-
            disagree-about-global-warming/



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            “This report by the Non-intergovernmental Panel on Climate Change (NIPCC) shows that there is no
            consensus about the effects of fossil fuel use and discusses why scientists disagree about global
            warming. Articles and surveys most commonly cited as showing a ‘scienti c consensus’ in favor of
            the CAGW hypothesis are without exception methodologically awed and often deliberately
            misleading. This report features a report by the Friends of Science. Climate scientists disagree
            because of fundamental uncertainties arise from insuf cient observational evidence, disagreements
            over how to interpret data, and how to set the parameters of models.”

            Editors, Friends of Science, http://www.friendsofscience.org/index.php?id=324




            “The Heartland Institute released at COP-21 in Paris its newest book on global warming: ‘Why
            Scientists Disagree About Global Warming.’ The authors demolish the most pernicious myth in the
            global warming debate: that ‘97% of scientists’ believe mankind is the cause of a global warming
            catastrophe. Scientists Craig Idso, Fred Singer, and Robert Carter critique the sources of this myth
            and present a summary of the physical science that makes it plain beyond any doubt that there is
            no global warming crisis.”

            Rich Kozlovich, Paradigms and Demographics,
            http://paradigmsanddemographics.blogspot.com/2016/01/new-book-why-scientists-disagree-
            about.html




            “Here’s a new essay on this crucial subject by some well-informed people. There has been a lot
            written about the so-called ‘scienti c consensus’ by those who wish to promote the warmist cause,
            that this new essay is needed to redress the balance and set the record straight. There is no
            consensus. In fact there is a massive debate over the main issue, which is what effect on climate
            will an increase in CO2 caused by burning fossil fuels have. That is (quite literally!) the burning
            question.”

            Editors, Climate Science, http://climatescience.blogspot.com/2015/12/why-scientists-disagree-
            about-global.html




            “[A] new book is getting a lot of attention, because it emphatically rejects claims of a ‘scienti c
            consensus’ on the causes and consequences of climate change. Titled ‘Why Scientists Disagree
            about Global Warming,’ it suggests that probably the most widely repeated claim in the global
            warming debate is that 97 percent of scientists agree that climate change is man-made and
            dangerous. Doctors, Craig D. Idso, Robert M. Carter, and S. Fred Singer — three prominent climate
            scientists af liated with the Nongovernmental International Panel on Climate Change — write: ‘This
            claim is not only false, but its presence in the debate is an insult to science.’”

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            Dwight Ford, Energetic City, http://energeticcity.ca/article/news/2015/12/01/united-nations-climate-
            change-summit-begins-in-paris




            “A recent publication by The Heartland Institute called Why Scientists Disagree About Global
            Warming: The NIPCC Report on Scienti c Consensus … edited by Craig D. Idso, Robert M. Carter, and S.
            Fred Singer, thoroughly documents the awed methodology utilized by Climate Change scientists.
            It also puts the lie to President Obama’s ‘Ninety-seven percent of scientists agree: climate change is
            real, man-made and dangerous.’”

            Bill Lockwood, American Policy Center, http://americanpolicy.org/2016/02/08/embracing-the-black-
            widow/




            “At ‘A Day of Examining the Data,’ the December 7 counter-conference to COP21, the
            Nongovernmental International Panel on Climate Change (NIPCC) released a report titled ‘Why
            Scientists Disagree About Global Warming.’ … The report refutes most of the UN proclamations. …
            The NIPCC gives the following sensible policy advice: (1) ‘Policymakers should seek out advice from
            independent, nongovernment organizations and scientists who are free of nancial and political
            con icts of interest.’ (2) ‘Individual nations should take charge of setting their own climate policies
            based upon the hazards that apply to their particular geography, geology, weather, and culture.’ (3)
            ‘Rather than invest scarce world resources in a quixotic campaign based on politicized and
            unreliable science, world leaders would do well to turn their attention to the real problems their
            people and their planet face.’ After drinking the poison Captain Hook had intended for Peter, Tinker
            Bell survived only because children across the world clapped loudly to show their belief in fairies.
            The UN believes their hopeless, naïve, and dangerous climate change plans can survive as long as
            the media and politicians keep clapping. It’s time they stopped and let the climate scare die.”

            Tom Harris, International Climate Science Coalition, https://pjmedia.com/blog/paris-climate-
            conference-agrees-on-sustainable-fantasy/




            “What is plainly obvious is that this work [by NIPCC] and the others like it will get relatively zero
            airtime in the corporate media. These are real scientists who use the scienti c method. They are
            completely transparent looking for peer review. Unlike the UN body of global warming fear
            mongers, Intergovernmental Panel on Climate Change (IPCC), who have done everything to hide
            their work and have been caught on multiple occasions committing fraud.”

            Grant Elder, WIKI versus NWO, http://www.wikivsnwo.com/climate-change-and-the-new-world-
            order/



                                                                                 RICO Statement Exhibit_120
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            “The key thing to be aware of … is that there is no consensus on the matter of what is causing GW
            (absent for the past 18 years) and if humans have any impact. You will hear that 97% of scientists
            agree, but this is both inaccurate and misleading. … In a recently published book titled Why
            Scientists Disagree About Global Warming, the technically quali ed authors (scientists all) point to
            four reasons: a con ict among scientists in different disciplines; fundamental scienti c
            uncertainties concerning how the global climate responds to the human presence; failure of the
            UN’s IPCC to provide objective guidance to the complex science; and bias among researchers.”

            Reed Miller, Industrial Heating, http://www.industrialheating.com/articles/92762-rhetoric-heats-up




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                                              Science and Environmental Policy Project (SEPP)


                                             The Science and Environmental Policy Project (SEPP) was founded by S.
                                             Fred Singer, Ph.D., in 1990 on the premise that sound, credible science
                                             must form the basis for health and environmental decisions that affect
                                             millions of people and cost tens of billions of dollars every year. A non-
                                             pro t, 501(c)3 educational group, its mission is to clarify the diverse
                                             problems facing the planet and, where necessary, arrive at effective,
                                             cost-conscious solutions.

            SEPP has been cited hundreds of times by the major news media. Articles and editorials by SEPP-
            af liated scientists have been published in leading journals and newspapers, including the Wall
            Street Journal, Miami Herald, Detroit News, Chicago Tribune, Cleveland Plain Dealer, Memphis
            Commercial-Appeal, Seattle Times, Orange County Register, The Bulletin of the Atomic Scientists, New
            Straits Times (Malaysia), Hindustan Times and Financial Chronicle (Delhi) and Finanz und Wirtschaft
            (Switzerland), among many others. Dr. Singer has published more than 200 technical papers in peer-
            reviewed scienti c journals, including the International Journal of Climatology in 2008.

            With an expanded program of policy and research analysis, and with an international network of
            scientists working pro bono, SEPP has an impact far greater than its size might suggest. Not
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            surprisingly, Outside magazine, a mainstream environment-oriented publication with some 350,000
            subscribers, named Singer one of its “The Ones to Watch” in 2004.

            The role of SEPP is to act as chairman of NIPCC, the otherwise informal network of scientists under
            whose name the Climate Change Reconsidered series appears; coordinate efforts by the Center to
            identify and recruit scientists as lead authors, contributors, and reviewers; convene NIPCC meetings
            during the research and review stages to share research and debate areas of disagreement; and
            participate with Heartland in the release of the report as a spokesperson for the effort.

            Contact information:

            Science and Environmental Policy Project
            1600 South Eads Street, # 712-S
            Arlington, VA 22202




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                                          Center for the Study of Carbon Dioxide and Global Change


                                                                         The Center for the Study of Carbon Dioxide
                                                                         and Global Change was founded as a
                                                                         nonpro t 501(c)3 organization in 1998 to
                                                                         provide regular reviews and commentary on
                                                                         new developments in the world-wide
                                                                         scienti c quest to determine the climatic
                                                                         and biological consequences of the ongoing
            rise in the air’s CO2 content. It achieves this objective primarily through the weekly online
            publication of CO2 Science, and which over the years has presented more than 5,000 synopses of
            peer-reviewed scienti c journal articles, original research, and other educational materials germane
            to the debate over carbon dioxide and global change.

            The three principals of the Center’s Management Team each hold Ph.D. degrees in elds that are
            central to the topic of carbon dioxide and global change. Together, they have a total of more than
            sixty years of professional experience in teaching and conducting and managing scienti c research;
            and they have published more than 500 scienti c articles in some fty different scienti c journals.
            They have also testi ed in legal proceedings and before Congress, authored books, received awards,
            appeared in television, radio and newspaper interviews, and spoken at numerous conferences and
            meetings.

            Craig D. Idso, Ph.D., is the founder and former president of the Center and currently serves as
            chairman of the Center’s board of directors. Sherwood B. Idso, Ph.D., assumed the presidency of the
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            Center in 2001. Prior to that time he was a research physicist with the U.S. Department of
            Agriculture’s Agricultural Research Service at the U.S. Water Conservation Laboratory in Phoenix,
            Arizona, where he worked since 1967.

            The Center’s role in this project is to recruit lead authors and contributors for the third report; ensure
            that a steady stream of literature reviews are written and posted on the NIPCC Web site; ensure that
            the lead authors produce a manuscript; revise the manuscript in response to comments by peer
            reviewers; and deliver nal manuscripts to the publisher in time to meet the publication schedule.

            Contact information:

            Center for the Study of Carbon Dioxide and Global Change
            PO Box 25697
            Tempe, AZ 85285-5697
            Email



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                                             Science and Environmental Policy Project (SEPP)




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                                                                 About


                                         The Nongovernmental International Panel on Climate
                                         Change (NIPCC) is what its name suggests: an
                                         international panel of nongovernment scientists and
                                         scholars who have come together to understand the
                                         causes and consequences of climate change. Because
                                         we are not predisposed to believe climate change is
                                         caused by human greenhouse gas emissions, we are
                                         able to look at evidence the Intergovernmental Panel
                                         on Climate Change (IPCC) ignores. Because we do not
                                         work for any governments, we are not biased toward
                                         the assumption that greater government activity is
                                         necessary.



                                         NIPCC traces its roots to a meeting in Milan in 2003
                                         organized by the
                                         Science and Environmental Policy Project (SEPP), a
                                         nonpro t research and education organization based in
                                         Arlington, Virginia. SEPP, in turn, was founded in 1990
                                         by Dr. S. Fred Singer, an atmospheric physicist, and
                                         incorporated in 1992 following Dr. Singer’s retirement
                                         from the University of Virginia. NIPCC is currently a
                                         joint project of SEPP, The Heartland Institute, and the
                                                                                            RICO Statement Exhibit_130
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                                         Center for the Study of Carbon Dioxide and Global
                                         Change.



                                         NIPCC has produced 14 reports to date:

                                               Nature, Not Human Activity, Rules the Climate
                                               Climate Change Reconsidered: The 2009 Report
                                               of the Nongovernmental International Panel on
                                               Climate Change (NIPCC)
                                               Climate Change Reconsidered: 2011 Interim
                                               Report
                                               Climate Change Reconsidered II: Physical Science
                                               Climate Change Reconsidered II: Biological
                                               Impacts
                                               Scienti c Critique of IPCC’s 2013 ‘Summary for
                                               Policymakers’
                                               Commentary and Analysis on the Whitehead &
                                               Associates 2014 NSW Sea-Level Report
                                               Why Scientists Disagree About Global Warming
                                               Written Evidence Submitted to the Commons
                                               Select Committee of the United Kingdom
                                               Parliament
                                               NIPCC vs. IPCC
                                               Chinese Translation of Climate Change
                                               Reconsidered
                                               Global Warming Surprises: Temperature data in
                                               dispute can reverse conclusions about human
                                               in uence on climate
                                               Data versus Hype: How Ten Cities Show
                                               Sea-level Rise Is a False Crisis
                                               Climate Change Reconsidered II: Fossil Fuels




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                                         Summary of CCR II: Fossil Fuels

                                         Full Text of CCR II: Fossil Fuels

                                         Why Scientists Disagree About Global Warming
                                         (2016)

                                         Why Scientists Disagree About Global Warming

                                         Biological Impacts (2014)

                                         Summary of CCR II: Biological Impacts

                                         Full Text of CCR II: Biological Impacts

                                         Physical Science (2013)

                                         Summary of CCR II: Physical Science

                                         Full Text of CCR II: Physical Science

                                         Interim Report (2011)

                                         Summary of CCR: Interim Report

                                         Full Text of CCR: Interim Report
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                                                                   NIPCC Report (2009)

                                                                   Summary of Climate Change Reconsidered

                                                                   Full Text of Climate Change Reconsidered




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   Climate skeptics hijack House Dem hearing – Dominate discussion – Warmists lament: “How did these two dominate a
   hearing run by Democrats?”
   Video & Submitted Written Congressional Testimony of Marc Morano – Examining UN Species/Climate Report – UN
   report is ‘authoritative propaganda’
   Order Your Book Copy Now! ‘The Politically Incorrect Guide to Climate Change’ By Marc Morano




                 ‘Green wave’ in EU vote amid
                   ‘climate crisis’ – Greens see
                 ecord gains in EU elections –
                  ‘Younger voters leading calls
                      for action to halt global
                              warming’
                                        NYT headline: ‘Trump        In Cannes, glittery film
                 Skip Ad                Administration Hardens      festival literally costs the
                                        Its Attack on Climate       Earth – ‘Fleet of energy-
                                        Science’ — Translation:     guzzling luxury yachts &
                                        Trump to champion           private planes, kilos of
                                        science!                    gourmet food dumped,
                                                                    limousines driving stars’
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   Science’s Untold                 Warmist newsman Bill
   Scandal: The Lockstep            Moyers slams                Record snowfall
   March of Professional            unbelievers: ‘We tell the   blankets Mammoth
   Societies to Promote the         liars, deniers, and do-     Mountain, just in time
   Climate Scare                    nothings to shove off’ –    for Memorial Day                        $29
                                    Urges media to cover
   WWF Blame Climate                ‘the climate crisis like    UN Scientist rips
   Change For Bee Decline-          Edward R. Murrow            Morano as ‘just a
   But Their Report Says            covered start of WW2’       straight climate denier’
   The Opposite                                                 – Democrat chair says
                                                                                                        $99
                                    Watch: Morano testifies     Morano ‘brought a
   Record low U.S.                  to Congress on how          provocative World
   droughts: ‘For the first         government can’t            Wrestling type of ethos
   time since US Drought            legislate climate           to his testimony’
   Monitor began in 2000,                                       Marc Morano, editor of
                                    Morano versus
   none of the continental                                                                              $29
                                    Democratic Chair            ClimateDepot.com and a
   US is in severe drought’
                                    Huffman of House            prominent climate
                                    Natural Resources           change
                                    Committee at                denier, according to
                                    Congressional Hearing       the DeSmog blog,
                                                                criticized Watson, whom
                                                                                                        $39
                                                                he sat next to at the
                                                                witness table. “[Watson]
                                                                says it’s our last chance
                                                                to save the planet. These
                                                                are the words of a                      $69
   Analysis: Greenland Has
                                    Marc Morano, argued         salesman, a science
   Been Cooling In Recent
                                    that Democrats were         bureaucrat, not a
   Years – 26 Of Its 47
   Largest Glaciers Now             wrong to pursue climate     disinterested…” Morano
   Stable Or Gaining Ice            change solutions. “What     never finished that
                                    it means is people are      sentence because
                                    going to be paying          subcommittee chair Rep.
                                                                Jared Huffman (D-           About
                                    higher energy costs for
                                                                Calif.) interrupted and
                                    absolutely no benefit,”
                                    Morano told the
                                                                told Morano to direct       Special
                                    committee. “Even if you
                                                                testimony to him.           Reports
                                    believe — and you           ...
                                    shouldn’t — every claim                                 Get Email
                                    made by the United          UN scientist Robert         Updates
                                                                Watson trashes Morano:      email address
                                    Nations or Al Gore, the
                                                                “I would have hoped that     Subscribe
                                    Green New Deal [and]
                                    the UN Paris Agreement      the Republicans would
                                    will have the               have chosen two very
                                    temperature difference      good scientists who
                                    in 100 years that’s         could have debated the
                                                                merits of the IPBES
                                                                                            Climate
                                    imperceptible.”                                         411
                                                                report rather than
                                                                clearly someone who’s       Sea Ice Extent
                                                                just a straight climate     (Global
                                                                       RICO Statement Exhibit_135
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                                    ‘F*CK YOU! DROP DEAD    denier,” Watson said,               Antarctic and
                                    MOTHERF*CKER!!’ Morano referring to Morano.                 Arctic) – Day
                                                                                                147 – 2019
                                    receives threat after                                       28th May 19 | By
                                                                                                sunshinehours1
                                    Congressional testimony
                   $12.99           – ‘May you die by [your                                     Quantum
                                    children’s] hand!’ –                                        computing
                                    WARNING GRAPHIC                                             doomsayers
                                                                                                are mostly
                                    LANGUAGE                                                    anti-quantum
                                                                                                zealots
                                    May 23, 2019 threat to                                      28th May 19 | By
                  $69.99            Morano:
                                                                                                Luboš Motl

                                                                                                Climate
                                    Tim                                                         Comedy: we
                                    Remple < tim@remple.us>:                                    must die for
                                                                                                the climate so
                                    Excerpt: "Whereas you                                       we can
                                    appeared on public at                                       survive…
                                                                                                27th May 19 | By
                                    the recent House                            Business Idea   Jo Nova
   Watch: Morano exposes                                                        Investment
                                    Natural Resources
   97% climate consensus                                                                        Sea Ice Extent
                                    Committee, and                                              (Global
   con testifying before
                                                                                                Antarctic and
   Congress: ‘Pulled from           Whereas you said                                            Arctic) – Day
   thin air… tortured data’                                                                     146 – 2019
                                    things that indicate                        Sad News For    27th May 19 | By
                                                                                                sunshinehours1
                                    your guilty of Crimes
   CLIMATOLOGIST’S                  Against Humanity and
   NEW STUDY: CLIMATE                                                                           Snowing in
                                    Ecocide,You are hereby                                      Flagstaff
   MODELS HAVE BEEN                                                                             Arizona
                                    official and irrevocably                                    27th May 19 | By
   PREDICTING TOO                                                               Diabetes Will Robert
   MUCH WARMING                     CURSED:
                                                                                This To Stop I
                                    May you live long                                           Climate
                                                                                                hysteria
   New UN Report on                 enough that your                                            27th May 19 | By
   Looming Mass                                                                                 Mark Mathis
                                    children and
   Extinctions Exposed in                                                       Do This Tonig
                                    grandchildren likewise                                     EU’s filthiest
   US House Testimony                                                           Flab All Night states
                                    see the end of ALL LIFE
                                                                                                pocketing
                                    on Planet Earth,                                            clean energy
   Greenpeace Co-Founder                                                                        funds with no
   Dr. Patrick Moore’s              May they, when they                                         plans to phase
   testimony to Congress                                                        She Just Wan    out coal
                                    understand what they                                      27th May 19 | By
   on UN Species Report:                                                        Taken, Look C Paul Homewood
                                    YOU have done,
   UN is using ‘extinction
   as a fear tactic to scare        Ask you, "How the                                           Freedom
                                                                                                under assault
   the public into                  FUCK could you have                                         27th May 19 | By
   compliance’                      done this to us??!!??                       Spot of Tea, A Craig Rucker
                                                                                Meghan Mark
                                                                                                EU: Farage, Le
                                    And may they then kill                                      Pen, Salvini
                                    you!                                                        win
                                                                                                27th May 19 | By
                                                                                                Luboš Motl
                                    May you die by their
                                    hand!                                                       UK
                                                                                                Government
                                    Looking them in the eye                                     spending
                                                                We’re saved?! ‘Big              foreign aid
                                    as THEY end your            corporations are calling        money to
                                    miserable life!!!!!"        on Congress to pass big         promote
                                                                                                fracking in
                                                                climate policy in the           China
                                                                       RICO Statement Exhibit_136
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                                                                 most aggressive & united         26th May 19 | By
                                                                                                  Paul Homewood
                                                                 way since 2009’
                                                                                                  On the road
                                                                                                  again
                                                                 Dr. Greta! Belgian               26th May 19 | By
                                                                 university will honor            Robert
                                               $29.99            ‘teen cimate defender’
                                                                                                  Most snow
                                                                 Greta Thunberg with              cover in
                                                                 honorary doctorate               Germany in 20
                                                                                                  years
                                                                                                  26th May 19 | By
                                                                    Belgian university will       Robert
                                                                    honour young climate-
   Dr. Patrick Moore &                         $39.99            activist Greta Thunberg
                                                                                                  Arctic
   Morano during the                                                                              400,000 sqkm
   hearing
                                                                                                  Higher Than
                                                                 The UK Guardian                  2016 – Sea Ice
                                                                 reviews Morano’s                 Extent (Global
   Moore: As with the                                                                             Antarctic and
   manufactured “climate                                         testimony at Democratic          Arctic) – Day
                                                                 House climate/species            145 – 2019
   crisis” they are using the                                                                     26th May 19 | By
                                                                 hearing: ‘Appalling…             sunshinehours1
   specter of mass                  Embarrassing – Watch:
                                                                 bullying…strident &
   extinction as a fear tactic      Dem House Committee                                           Winter
                                                                 personal…he
   to scare the public into         Chair falsely claims UN                                       Weather
                                                                 aggressively attacked’           Advisory for
                                    report warns of ‘6th
   compliance. The IBPES                                                                          California
                                    mass extinction’ – But       The UK Guardian                  Mountains
   itself is an existential
                                    UN witness rejects claim     reviews are in for
                                                                                                  26th May 19 | By
   threat to sensible policy                                                                      Robert

   on biodiversity                                               Morano & Moore's
                                    Girl Bullied by Teacher,     testimony at the                 Another foot
   conservation.                    Classmates for Refusing                                       of snow
                                                                 Democratic House                 expected in
   The UN IBPES claims              to join ‘Climate Strike’ –                                    Montana –
                                                                 climate/species hearing:
                                    Accused of being a                                            end of May
   there are 8 million                                           'Appalling...bullying...stride 26th May 19 | By
                                    ‘climate denier’                                            Robert
   species. Yet only 1.8                                         & personal...aggressively
   million species have                                          attacked'                        Russia
                                    Study: ‘Much shorter
   been identified and                                                                            Launches New
                                    working weeks needed         UK Guardian: Morano’s            Nuclear
   named. Thus the IBPES                                                                          Icebreaker
                                    to tackle climate crisis’
   believes there are 6.2                                        comments were so                 26th May 19 | By
                                                                                                  Paul Homewood
   million unidentified and         People across Europe         strident and personal'
   unnamed species.                 will need to work                                             “Earth
                                                                 Morano & Moore "used             Engine”
   Therefore one million of         drastically fewer hours
                                                                 the hearing to                   developers
   the unknown species              to avoid disastrous                                           seek to create
                                                                 aggressively attack the          limitless
   could go extinct                 climate heating unless
                                                                 [UN] IPBES and its               power using
   overnight and we would           there is a radical                                            magnets
                                                                 scientists."                     26th May 19 | By
   not notice it because we         decarbonising of the                                          CFACT
   would not know they had          economy, according to a      "At the hearing, Morano
                                    study...The                  characterized the IPBES          Nature’s
   existed. This is highly                                                                        contribution
   unprofessional.                  research, from               report as a piece of             to
                                    thinktank Autonomy,          “propaganda” meant to            Atmospheric
   Scientists should not, in                                                                      CO2. PEER
   fact cannot, predict             shows workers in the UK      give the United Nations          REVIEWED
                                    would need to move to        “more money, more                PAPER.
   estimates of endangered                                                                        26th May 19 | By
                                    nine-hour weeks to keep      power, more scientific           Geoff
   species or species
   extinction based on              the country on track to      authority, more money
                                                                                                  Weekend
                                    avoid more than 2C of        and more regulatory              Unthreaded
                                                                                                  26th May 19 | By
                                    heating at current           control of the economy           Jo Nova
                                                                         RICO Statement Exhibit_137
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   millions of                      carbon intensity levels.     and people’s lives”. He
   undocumented species.            Similar reductions were      then went on to smear
                                                                                              Snowiest May
                                                                                              EVER in parts
                                    found to be necessary in     the recent chair of the      of California
                                                                                              26th May 19 | By
   Analysis: ‘Nothing but           Sweden and                   IPBES, Sir Robert            Robert

   fiction’ – UN Species            Germany.The findings         Watson, who was sitting
   Extinction Report                are based on OECD and        beside him, alleging that
   Spouts Unscientific              UN data on greenhouse        Watson and his fellow
   Hype, Dubious Math –             gas emissions per            IPBES officials “are part
   ‘Claims are nonsensical          industry in the three        of this con” and “the
   hype…wildly                      countries. It found that     leaders of this UN                          $249
   exaggerated numbers
                                    at current carbon levels,    politicization of species
   that can’t be
                                    all three would require a    endangerment science,”
   corroborated’
                                    drastic reduction in         calling the well-
   Physicist Ralph B.               working hours as well as     pedigreed Watson “not a
   Alexander: "The UN               urgent measures to           scientist, but a science                    $39
   IPBES                            decarbonise the              bureaucrat.” Morano’s
   (Intergovernmental               economy to prevent           comments were so
   Science-Policy Platform          climate breakdown.           strident and personal
   on Biodiversity and                                           that Representative
   Ecosystem Services)              ‘Young people blame          Jared Huffman, who was
                                                                                                             $29.
   claimed that more                climate change for their     presiding over the
   species are currently at         small 401(k) balances’ –     hearing, had to
   risk of extinction than at       ‘Think civilization may      repeatedly remind him
   any time in human                not exist when they’re of    not to direct comments
   history and that the             retirement age’              at his fellow witnesses."
   extinction rate is
                                                                                                             $69
                                                                 "The conduct of the
   accelerating. But these
                                                                 Republican legislators
   claims are nonsensical
                                                                 and their witnesses at
   hype, based on wildly
                                                                 Tuesday’s hearing was
   exaggerated numbers
                                                                 appalling...bullying                        $12.9
   that can’t be
                                                                 tactics..."
   corroborated...

   The IPBES report
                                                                 Climate hearing turns
   summary, which is all                                         ugly for Dems as
   that has been released so        Lori Rodriguez, a 27-        skeptics take over: Rip
   far, states that “around 1       year-old                     apart Green New Deal,
   million of an estimated 8        communications               UN Paris pact & 97%
   million animal and plant         professional in New          ‘consensus’ – Declare        Tags
   species (75% of which            York City, is not saving     UN ‘Authoritative
                                                                 propaganda’ –
                                                                                              al gore
   are insects), are                for retirement, and it                                    antarctica
                                    isn’t necessarily because    Greenpeace co-founder        arctic
   threatened with
   extinction.” Apart from          she can’t afford to — it’s
                                                                 blasts UN species report:
                                                                 ‘That is not science. That
                                                                                              astrology
   the as-yet-unpublished           because she doesn’t
                                                                 is fiction. Fairy tale       avg az
   report, there’s little           expect it to matter. Like
                                                                 stories’                     barack
   indication of the source         many people her age,
                                                                 Greenpeace co-founder
                                                                                              obama
                                    Rodriguez believes
   for these estimates,
                                                                 Dr. Patrick Moore on UN
                                                                                              capandtrad
   which are as mystifying          climate change will have                                  climate depot
                                    catastrophic effects on      species scare: “You       co2 coal
                                                                        RICO Statement Exhibit_138
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   as the classic magician’s        our planet. Some 88% of      cannot call yourself a         consensus
   rabbit produced from an          millennials — a higher       scientist if you pretend       buster
   empty hat...                     percentage than any          that there are 6.2 million     cru
   But while the IUCN
                                    other age group — accept     species that have no           debate
                                    that climate change is       names and have never           development
   presents these numbers                                                                       economics
                                    happening, and 69%           been identified. That is
   matter-of-factly without                                                                     emissions
                                    say it will impact them in   not science. That is
   fanfare, the much more                                                                       energy
                                    their lifetimes. Engulfed    fiction. Fairy tale stories.   epa
   political IPBES resorts
   to unashamed hype by
                                    in a constant barrage of     And that’s what we’re          funding
   extrapolating the
                                    depressing news stories,     being told here.”              global
   statistics beyond the
                                    many young people are
                                                                 Climate Depot’s Marc           cooling
                                    skeptical about saving                                      global
   98,512 species that the                                       Morano described the           warming
                                    for an uncertain
   IUCN has actually
                                    future. “I want to hope
                                                                 report as a politically        gop hollywood
   investigated, and by                                          driven document, “the          hurricanes ice
                                    for the best and plan for
   assuming a total number
                                    a future that is stable
                                                                 latest U.N. appeal to give     intimidation
   of species far in excess of
                                    and secure, but, when I
                                                                 it more power, more            ipcc key
   the IUCN’s estimated 1.7                                      scientific authority,          kids
                                    look at current events
   million. Estimates of just
                                    and at the world we are
                                                                 more money and more            media
   how many species the                                          regulatory control.” “At       mediacd
                                    predicting, I do not see                                    Michael Mann
   Earth hosts vary                                              best, the U.N. science
                                    how things could not be                                     mkey
   considerably, from the                                        panels represent
                                    chaotic in 50 years,”                                       models
   IUCN number of 1.7                                            nothing more than
   million all the way up to
                                    Rodriguez says. “The
                                                                 ‘authoritative
                                                                                                new
   1 trillion. The IPBES
                                    weather systems are
                                    already off, and I don’t
                                                                 bureaucracy,’ claiming         study
   number of 8 million                                           they hype the problem          paris polling
                                    think it’s hyperbolic to                                    religion
   species appears to be                                         and then come up with
   plucked out of nowhere,
                                    be a little apocalyptic.”
                                                                 the solution that puts         science
                                                                                                sea levels solar
   as does the 1 million                                         them in charge of
   threatened with                  Climatologist Dr. Judith     ‘solving’ the issue in
                                                                                                trump    un
   extinction, despite the          Curry: Morano ‘has           perpetuity,” Mr. Morano        wacky
                                    prepared an extremely
   IPBES report being the                                        said in his prepared
                                    hard-hitting report for
   result of a “systematic                                       remarks. “A more
                                    his written testimony’ at
   review” of 15,000                Congressional species        accurate term for the
   scientific and                   hearing                      U.N. than ‘authoritative
   government sources...                                         science’ may be
                                    Dr. Curry: "Having Marc      ‘authoritative
   Not only does the IPBES          Morano on this list is       propaganda.’”
   take unjustified liberties       like waving a red cape
   with the IUCN statistics,        before a bull. True to       Mr. Huffman fired
   but its extinction rate          form, Marc has prepared      back, referring to Mr.
   projection bears no              an extremely hard-           Morano as a troll. “I
   relationship whatsoever          hitting report for his       don’t know what
   to actual extinction data.       written testimony."          inspires someone to
   A known 680 vertebrate                                        make a career out of
   species have been driven         "While I have read           trolling scientists or
   to extinction since the          Morano’s recent book         monetizing contrarian
   16th century, with 66            The Politically Incorrect    ideology on the YouTube
   known insect extinctions         Guide to Climate Change      and Ted Talk circuit, but
                                                                         RICO Statement Exhibit_139
https://www.climatedepot.com                                                                                       6/12
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   recorded over the same           (I recommend this           it’s just a very different
   period – or                      book), I was unaware        kind of conversation
   approximately 1.5                that Morano had been        than the science-based
   extinctions per year on          following the species       conversation I think
   average. The IPBES               extinction issue so         many of us would try to
   report summary states            closely. Witnesses          have,” Mr. Huffman
   that the current rate of         selected by the minority    said.
   global species extinction        party (at present the
                                                                No House committee
   is tens to hundreds of           Republicans), typically
                                                                hearing this year would
   times higher than this           have a week at best to
                                                                be complete without a
   and accelerating, but            prepare written
                                                                climate change row.
   without explanation              testimony. So it is clear
                                                                Republicans took aim at
   except for the known             that Morano’s materials
                                                                the Green New Deal, the
   effect of habitat loss on        must have been collected
                                                                Paris climate agreement
   animal species...                and examined over a
                                                                and the 97% scientific
                                    period of time."
   it seems that the IPBES                                      “consensus,” while
   numbers are sheer                "It is very difficult to    Democrats’ witnesses
   make-believe. One                rebut Morano’s points       stressed the impact of
   million species on the           without the full Report     global warming on
   brink of extinction is           and its documentation."     species.
   nothing but fiction,
                                    "Morano was asked a
   when the true number
                                    question about ‘97% of      UK Guardian outraged:
   could be as low as 5,900.                                    ‘Republicans give
                                    scientists agree.’
                                                                platform to climate
                                     Morano nailed it. Moore
   ‘Extinction Crisis’                                          science deniers at
                                    effectively chimed in on
   Speciously Targets Free                                      hearing on biodiversity’
                                    this issue also...The
   Markets
                                    Chairman in his 5
                                    minutes is attacking
   Video: Netflix,
                                    Morano and the
   Attenborough And Cliff-
                                    Republicans for inviting
   Falling Walruses, The
                                    him. Also criticizing
   Making Of A False
   Climate Icon                     ‘junior varsity think
                                    tanks.'"
   Climate Activists Hope
   That Fake News About             Climate skeptic Morano
   Droughts Will Win                picks fight at
                                    Congressional hearing –
                                                                Opening Statement of
   Octopuses may go blind           ‘Verbally attacks the
                                                                GOP Ranking Member
   from climate change,             credibility of one of the
                                                                Tom McClintock at
   study warns                      UN scientists’
                                                                Species hearing: UN
                                                                practicing ‘the antithesis
                                                                of science’




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   UN claims debunked:
   Studies Indicate Species
   Extinctions Decline With
   Warming – ‘Since the
   1870s, species extinction
   rates have been
   plummeting’ – Habitat            Democrat Subcommittee
   loss & predator                  chair Rep. Jared
   introduction biggest                                         Rep. Tom McClintock
                                    Huffman to
   threat — Not warming                                         with Marc Morano &
                                    @climatedepot Marc
   "During the last few             Morano: "Mr. Morano, I      Patrick Moore at
   hundred years, species           don't know what             hearing
   extinctions primarily            inspires someone to         Rep. McClintock: "Do
   occurred due to habitat          make a career out of        not despair. As Ronald
   loss and predator                trolling scientists."       Bailey, science
   introduction on islands.                                     correspondent for
   Extinctions have not             Congressional Hearing       Reason Magazine writes:
   been linked to a                 D-Day May 22!               “Many of the
   warming climate or               Greenpeace co-founder       transformative changes
   higher CO2 levels. In            Moore & Depot’s             advocated by the IPBES
   fact, since the 1870s,           Morano set to battle top    are already happening as
   species extinction rates         3 UN officials at Hearing
                                                                a result of the economic
   have been plummeting."           on UN species report
                                                                growth the UN agency
   "No clear link between                                       wants us to steer away
   mass extinctions and                                         from. Due to increasing
   CO2-induced or sudden-                                       wealth, education and
   onset warming events."                                       urbanization, world
                                                                population will peak
                                                                later this century around
   Times of India column:
                                    Dr. Patrick Moore - See:    8 to 9 billion.” He goes
   ‘Climate science violates
                                    ‘Welcome to Neo-            on to point out that
   the basic precepts of
                                    Stalinism’: Google          growing prosperity and
   science’
                                    promptly vanishes           technology is resulting
                                    Greenpeace co-founder       in increasingly more
                                    Dr. Moore from enviro       efficient resource use
                                    group’s history after       and growing income and
                                    Trump tweets his            gender equality."
                                    skeptical climate views
                                                                Media laments:
                                                                House GOP ‘called two
                                                                prominent climate
                                                                deniers’ Moore &
                                                                Morano to testify –
                                                                Morano: UN report
                                                                ‘hypes and distorts
                                                                biodiversity issues for
                                                                lobbying purposes’


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https://www.climatedepot.com                                                                        8/12
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                                                                 Republicans have called
                                                                 climate deniers Marc
                                                                 Morano, the founder of
                                                                 Climate Depot, and
                                                                 Patrick Moore,
                                                                 chairman of the CO2
                                                                 coalition.

                                                                 Morano claims the
                                                                 report “hypes and
                                                                 distorts biodiversity
                                                                 issues for lobbying
                                    & Marc Morano set to         purposes”, while
                                    testify in Congress          Moore’s group argues,
                                    against the UN - See:        despite the
                                    Here we go again: UN,        overwhelming science to
                                    Media recycle climate        the contrary, that more
                                    species ‘extinction’ fears   carbon dioxide is good
                                    – Dredge up discredited      for the planet.
                                    Paul Ehrlich

                                    Watch Live at 10am Est -     Green Mega-Flop:
                                    Watch here:                  German Failure On the
                                                                 Road To A Renewable
                                    House Natural                Future
                                    Resources Committee
                                    Subcommittee on Water,       Brace Yourself: EU faces
                                    Oceans, and Wildlife         “Massive Flood Of
                                    “Responding to the           Plastic Waste” After UN
                                    Global Assessment            Export Restrictions
                                    Report of the
                                    Intergovernmental            China’s Green Efforts
                                    Science-Policy Platform      Hit By Fake Data And
                                                                 Corruption
                                    on Biodiversity and
                                    Ecosystem Services.”
                                                                 Hey Greenies: Check out
                                    Date: Wednesday, May         the global revolt against
                                    22, 2019                     your green
                                    Time: 10:00 AM               agenda…’From Alberta
                                    Location: Longworth          to Australia, from
                                                                 Finland to France, and
                                    House Office Building
                                                                 beyond’
                                    1324

                                                                 Aussie Election
                                    No EU Country On Track       Blamestorm Continues:
                                    For 2030 Climate Goal        “Voters feared climate
                                                                 policy more than climate
                                    Study: Not a single EU       change”
                                    country on a pathway to
                                    reach net-zero emission
                                    by 2050
                                                                        RICO Statement Exhibit_142
https://www.climatedepot.com                                                                         9/12
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                                    Jo Nova: It Was A
                                    Climate Election And
                                    The Sceptics Won


                                    After Another Defeat,
                                    Climate Policy Threatens
                                    To Devour Left Parties



                                    Accuweather Global
                                    Warming
                                    American Thinker
                                    AMSU Global Daily
                                    Temps
                                    Andrew Bolt                 Al Gore
                                    Anthony Watts Surface       Atmoz
                                    Station
                                                                BBC Environment Blog
                                    Art Horn
                                                                CEJ Journal
                                    Australian Climate
                                                                Christian Science
                                    Madness
                                                                Monitor
                                    Bob Carter
                                                                Climatedenial.org
                                    Business & Media
                                                                ClimateProgress
                                    Institute
                                                                Deltoid
                                    Carbon Folly
                                                                Dr. R K Pachauri Blog
                                    CFACT
                                                                EcoRazzi.com
                                    Christopher Booker
                                                                Forecast Earth
                                    Climate Audit
                                                                George Monbiot
                                    Climate Change Dispatch
                                                                globalchange
                                    Climate Common Sense
                                                                Greenpeace
                                    Climate Cycle Changes
                                                                Grist.org
                                    Climate Debate Daily
                                                                Is it Getting Warmer?
                                    Climate Depot
                                                                Mark Lynas
                                    Climate Realists
                                                                Mooney's Discover Blog
                                    Climate Research News
                                                                Nature Blog
                                    Climate Resistance
                                                                Only in it for the gold
                                    Climate Science: Roger
                                    Pielke Sr.                  Real Climate
                                    Climate Skeptic             Revkin's Dot Earth
                                    CO2 Science                 Sci. Journalism Tracker
                                    CO2web                      Scripps Insitute of
                                                                Oceanography
                                    Dr. Roy Spencer
                                                                Sen. Boxer's EPW Page
                                    Drudge Report
                                                                Stephen Schneider
                                    EcoWorld.com
                                                                        RICO Statement Exhibit_143
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                                    Energy Tribune              The Heat is Online
                                    Fred S. Singer's SEPP       Yale Climate Media
                                    Gary Sharp                  Forum

                                    Global Warming Hoax
                                    Global Warming Science
                                                                Contact Marc
                                                                Morano
                                    Global Warming
                                    Skeptics                    Submit the form below to
                                    Gore Lied                   send me a lead!

                                    Green Hell Blog             Email address *
                                    Greenie Watch
                                    Hall of Record
                                                                Message *
                                    Heliogenic Blog
                                    I Love My Carbon
                                    Dioxide
                                    Ice Age Now
                                    IceCap.us
                                    International Climate                    What is 5 + 8?
                                    Science Coalition
                                    James Spann's Blog           Contact »
                                    Jennifer Marohasy
                                    Joanne Nova
                                    John Coleman's Corner
                                    John Daly
                                    John McLean
                                    Junk Science
                                    Marshall Institute
                                    Martinez Report
                                    Metsul's Meteorologia
                                    Michael Crichton
                                    Milo Yiannopoulos
                                    Newsbusters.org
                                    OilPrice.com
                                    Omniclimate
                                    Peden's Middlebury
                                    Community Network
                                    Planet Gore
                                    Powerlineblog
                                    Prometheus
                                    Real-Science.com
                                    Rossputin.com
                                    Science and Public
                                    Policy Institute
                                                                       RICO Statement Exhibit_144
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                                    Science Bits
                                    Talking About the
                                    Weather
                                    The Chilling Effect
                                    The Climate Bet
                                    The Heartland Institute
                                    The Inhofe EPW Press
                                    Blog
                                    The New Zealand
                                    Climate Science
                                    Coalition
                                    The Reference Frame -
                                    Lubos Motl
                                    The Resilient Earth
                                    The Weather Wiz
                                    The Week That Was by
                                    Fred Singer
                                    Tom Nelson
                                    Tom Skilling's Blog
                                    Tropical Cyclone's- Ryan
                                    Maue COAPS
                                    Warmal Globing
                                    Warwick Hughes
                                    Watts Up with That?
                                    Web Commentary
                                    William M. Briggs,
                                    Statistician
                                    World Climate Report




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          Climate Hustle: The ﬁlm that changes the climate
                   of debate on global warming
Concerns about man-made global warming have consumed nearly all other environmental
issues as proponents claim increasing carbon dioxide will result in a global catastrophe
unless nations drastically reduces emissions. Global warming has evolved to be blamed for a
range of issues beyond just rising temperatures or sea levels. Now rising CO2 emission are
said to cause ﬂoods, droughts, tornadoes, hurricanes and even maladies like prostitution, bar
room brawls, airline turbulence and less snow or more snow, depending on the season.

More than a year in the making, Climate Hustle is now smashing onto the scene to rock the
climate debate and set the record straight. Produced by “CFACT Presents” and hosted by
Climate Depot publisher Marc Morano, the ﬁlm features prominent scientists from around the
world who used to warn about the dangers of man-made global warming but have reexam-
ined the evidence and have now grown more skeptical or become outright skeptics of
man-made climate change fears.

The ﬁlm is not a one-sided documentary with only one narrative presented. Instead, Climate
Hustle comes alive to the viewer with archival video clips and news footage spanning over 40
years. The ﬁlm presents both sides of the climate debate in an engaging and pop
culture-friendly way that walks viewers through the dire climate claims being made and exam-
ines them one by one.

Viewers of Climate Hustle will get an informative, humorous and entertaining journey through
seven key sections that lay waste to the media-promoted climate claims. For example:

One powerful segment, called “Stacking the Deck,” shows how the notion of a “scientiﬁc
consensus” on climate change is pure fabrication and is simply a political tool used to stiﬂe
debate.

Another segment, entitled “Sleight of Hand,” examines whether CO2 is really the villain it’s
made out to be and shows viewers some of the crucial facts that Al Gore omitted from his
famous propaganda documentary, An Inconvenient Truth.




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Viewers are taken on a journey back in time to reveal centuries – yes centuries – of climate
panic and fear. The ﬁlm shows rarely seen clips of 1970s global cooling newscasts and how
“stagecraft” was employed to juice the narrative of man-made global warming fears in the
1980s.

Sea level rise scares? Polar bears? Polar ice melts? Climate Hustle offers viewers a virtual A-Z
examination of the evidence for man-made climate fears. The ﬁlm features expert opinions
and data to reveal that on virtually every claim in the climate debate, climate activists have
either greatly exaggerated the issue or are ﬂat out wrong.

Climate Hustle viewers will also get a look at the increasingly outlandish claims of activists
who, in a form of “climate astrology,” want to blame every bad weather event – and societal
evil – on man-made global warming.

The ﬁlm has its moments of hilarity as comical climate change “tipping points” are exposed as
utter nonsense and more suited to a stand-up comedy act. Viewers are walked through previ-
ous doomsday predictions on topics ranging from Y2K to the Mayan Calendar.

Perhaps the most poignant moment of the ﬁlm comes when viewers are told there is literally
no difference between holocaust deniers and climate “deniers.” Exclusive interviews reveal
activists who call for skeptics to be thrown in jail. By contrast, scientists are proﬁled who have
reversed themselves on global warming fears, and far from proﬁting from their dissent, they
explain how their careers have been negatively impacted just for daring to challenge the
so-called consensus. Politically Left scientists are interviewed who reveal how “lonely” it is for
them to dissent on man-made global warming.

Climate Hustle is premiering in Paris during the UN’s COP21 climate summit, and will be
scheduled for theatrical and home video release in 2016.




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                         Committee For A Constructive Tomorrow
                                               By Marc Morano




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The scientific reality is that on virtually every claim — from A
to Z — the promoters of manmade climate fears are falling short
or going in the opposite direction.

     Global temperatures have been virtually flat for about 18 years
      according to satellite data, and peer-reviewed literature is now
      scaling back predictions of future warming.
     The U.S. has had no Category 3 or larger hurricane make landfall since
      2005 – the longest spell since the Civil War.
     Strong F3 or larger tornadoes have been in decline since the 1970s.
     Despite claims of snow being ‘a thing of the past,’ cold season
      snowfall has been rising.
     Sea level rise rates have been steady for over a century, with recent
      deceleration.
     Droughts and floods are neither historically unusual nor caused by
      mankind, and there is no evidence we are currently having any unusual
      weather.
     So-called hottest year claims are based on year-to-year temperature
      data that differs by only a few HUNDREDTHS of a degree to tenths of a
      degree Fahrenheit – differences that are within the margin of error in
      the data. In other words, global temperatures have essentially held
      very steady with no sign of acceleration.
     A 2015 NASA study found Antarctica was NOT losing ice mass and ‘not
      currently contributing to sea level rise.’
     2016 Arctic sea ice was 22% greater than the recent low point of 2012.
      The Arctic sea ice is now in a 10-year ‘pause’ with ‘no significant
      change in the past decade’
  
     Deaths due to extreme weather have declined dramatically.
     Polar bears are doing fine, with their numbers way up since the 1960s.

Have climate change skeptics lost the climate debate?

No! Climate skepticism enjoys huge popularity in polling data, and every time
a climate bill has come before the U.S. Congress it has failed to pass. There
never was any real climate debate! One of the key reasons climate fear
proponents don’t want to debate is what happened during a pivotal high-
profile debate in 2007 in New York City, where skeptics were voted the clear
winners against global warming proponents.

NASA’s Gavin Schmidt appeared so demoralized at losing that debate that he
announced debates equally split between believers in a climate ‘crisis’ and
scientific skeptics are probably not “worthwhile” to ever agree to again. And
climate change promoters listened, with debates becoming rarer and rarer.

In fact, instead of engaging in debates, prominent climate activists now call
for jailing skeptics. Robert F. Kennedy, Jr., declared he wanted to jail his
climate skeptics. “They ought to be serving time for it,” Kennedy said in
2014. And Bill Nye -- ‘The Jail-The-Skeptics Guy!’ -- entertained the idea of
jailing climate skeptics for “affecting my quality of life” in 2016, while




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U.S. Senators and top UN scientists called for RICO-style charges against
skeptics.



Will the UN Paris climate change agreement save the planet from
‘global warming’?
No! Even if you accept the UN’s and Al Gore’s version of climate change
claims, the UN Paris agreement would not ‘save’ the planet. Prominent
scientists from MIT and Princeton have declared the basis for the UN
agreement to be “irrational” and “based on nonsense.”

University of Pennsylvania Geologist Dr. Robert Giegengack noted in 2014,
“None of the strategies that have been offered by the U.S. government or by
the EPA or by anybody else has the remotest chance of altering climate if in
fact climate is controlled by carbon dioxide.”

In layman’s terms: All of the so-called ‘solutions’ to global warming are
purely symbolic when it comes to climate. So, even if we actually faced a
climate catastrophe and we had to rely on a UN climate agreement, we would
all be doomed!


Will the UN Paris agreement keep Earth’s average temperature to
within the 2-degree Celsius limit that climate activists have
set as a goal?
Even top UN scientists have mocked the notion that a 2-degree Celsius
temperature limit is meaningful. Dr. Phil Jones revealed that the 2 deg C
limit was “plucked out of thin air” with no scientific basis. “The 2 deg C
limit is talked about by a lot within Europe. It is never defined though what
it means. Is it 2 deg C for the globe or for Europe? Also when is/was the
base against which the 2 deg C is calculated from? I know you don’t know the
answer, but I don’t either! I think it is plucked out of thin air,” Jones
wrote in the leaked Climategate emails.

Princeton Physicist Dr. Will Happer rejects the whole notion of reducing
emissions to control temperature. “Policies to slow CO2 emissions are really
based on nonsense. We are being led down a false path,” Happer said in 2015.



Why would the UN and other organizations push manmade ‘global
warming’ fears if the science is not there to support their
claims? What possible reason could they have to hype science?
The United Nations has publicly stated its goal is not to ‘solve’ climate
change, but to seek to redistribute wealth and expand its authority through
more central planning.

UN official Ottmar Edenhofer, co-chair of the IPCC Working Group III,
admitted what’s behind the climate issue: “One must say clearly that we
redistribute de facto the world’s wealth by climate policy … One has to free
oneself from the illusion that international climate policy is environmental
policy. This has almost nothing to do with environmental policy anymore.”




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EU climate commissioner Connie Hedegaard revealed: Global Warming Policy Is
Right Even If Science Is Wrong. Hedegaard said in 2013, “Let's say that
science, some decades from now, said 'we were wrong, it was not about
climate,' would it not in any case have been good to do many of things you
have to do in order to combat climate change?”

The UN is seeking central planning. UN climate chief Christiana Figueres
declared in 2012 that she is seeking a “centralized transformation” that is
“going to make the life of everyone on the planet very different.” She added:
“This is a centralized transformation that is taking place because
governments have decided that they need to listen to science.”

The UN and EPA regulations are pure climate symbolism in exchange for a more
centrally planned energy economy. The UN and EPA regulations are simply a
vehicle to put politicians and bureaucrats in charge of our energy economy
and ‘save’ us from bad weather and ‘climate change.’



Is the UN IPCC the gold standard for science?
It is fool’s gold. The UN IPCC is a political organization masquerading as a
scientific body. Many UN lead authors have now resigned from the IPCC or had
their names removed due to the politicization of science to fit the climate
change narrative. The former chief of the UN IPCC, Rajendra Pachauri,
declared global warming “is my religion.” The UN IPCC is a lobbying
organization that seeks to enrich the UN by putting it in charge of ‘solving’
climate change.



Will stopping global warming help poor nations?
Quite the opposite. Attempting to control weather and climate will have no
impact on climate, but a huge impact on economic development of poor nations
due to so-called ‘solutions’ of global warming that would limit development
and ban many forms of life-saving carbon based energy.



Penn State Prof. Michael Mann has called the UN Paris agreement
the “last chance” to battle global warming. Is it the last
opportunity?
The fact is that every UN Climate Summit is hailed as the “last chance” to
stop ‘global warming’ before it’s too late. Previous “last chance” deadlines
turned out to be – well – not the “last chance,” after all.

In 2001, and at almost every annual UN climate summit after that, every
deadline has been heralded as the “last chance” to stop ‘global warming.’ It
seems the earth is serially doomed. The UN issued environmental “Tipping
Points” in 1982 and another 10-year climate “Tipping Point” in 1989. There
have even been tipping points of Hours, Days, Months, Years, and even on
Millennial time scales.



The 2015 UN Paris climate agreement was hailed as historic. Did
it solve climate change?
If climate activists at the UN and in the media actually believed the UN
agreement ‘solved’ global warming, shouldn’t that mean we never have to hear




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about ‘solving’ global warming ever again? If it really ‘solved’ climate
change, does this mean we can halt the endless supply of federal tax dollars
funding 'climate change' studies? Does this mean we can stop worrying about
the ability of 'global warming' to end civilization and cause wars, and
increase prostitution, bar room brawls, rape, airline turbulence, etc.? If
activists truly believed a UN treaty could 'solve' global warming, they would
move on to a new issue.



Will EPA climate regulations impact the Earth’s climate?
NO! President Obama’s own EPA Chief Gina McCarthy admitted that the EPA
regulations are symbolic and will have no measurable climate impact – even if
you believe in the climate activist version of science. “The value of this
rule is not measured in that way [temperature impact],” McCarthy said in
2015. “I am not disagreeing that this action in and of itself will not make
all the difference we need to address climate action, but what I'm saying is
that if we don't take action domestically we will never get started,” she
added. Obama’s former EPA Administrator Lisa Jackson had previously noted
that “U.S. action alone will not impact world CO2 levels.”

Climatologist Dr. Patrick Michaels’ analysis says any potential impact on
climate from EPA regulations would be “so small as to be undetectable, less
than two one-hundredths of a degree C.” “We’re not even sure how to put such
a small number into practical terms, because, basically, the number is so
small as to be undetectable.”

Even NASA’s former lead global warming scientist James Hansen has called
Obama’s EPA climate regulations “practically worthless,” and added, “You've
got to be kidding me.”
Yet, despite the fact that EPA regulations would have no impact on global CO2
levels, Obama advisor John Podesta claimed in 2014 that the EPA CO2
regulations are needed to combat extreme weather: “The risk on the downside
you’re seeing every day in the weather.”


Why would skeptics seek to overturn Obama’s EPA climate
executive orders?
Obama’s EPA regulations (including the Clean Power Act) bypassed Congress and
imposed domestic climate regulations on America without a single vote of
Congress. Obama’s Harvard Law School Professor Laurence Tribe said the EPA
climate regulations are akin to “burning the Constitution.”

Tribe, a liberal constitutional scholar at Harvard University, declared that
Obama’s executive orders “raised serious questions under the separation of
powers” because “the EPA is attempting to exercise lawmaking power that
belongs to Congress and judicial power that belongs to the federal courts.”
Tribe added, “Burning the Constitution cannot be part of our national energy
policy.”

Climate activists seem to think we need more taxes and regulation to somehow
stop bad weather.




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Shouldn’t all Americans want to reduce ‘carbon pollution’ for
our health?
CO2 is not ‘pollution.’ The term ‘carbon pollution’ is unscientific and
misleading. As James Agresti wrote: “The phrase conflates carbon dioxide with
noxious chemicals like carbon monoxide and black carbon.” “The phrase ‘carbon
pollution’ is scientifically inaccurate because there are more than ten
million different carbon compounds, and the word ‘carbon’ could refer to any
of them. Some of the more notorious of these compounds are highly poisonous,
such as carbon monoxide (a deadly gas) and black carbon (the primary
ingredient of cancerous and mutagenic soot). Using a phrase that does not
distinguish between such drastically different substances is a sure way to
misinform people.”

Carbon Dioxide – CO2 – is a harmless trace essential gas in the atmosphere
that humans exhale from their mouth (after inhaling oxygen).

Princeton Physicist Dr. Will Happer has said: “To call carbon dioxide a
pollutant is really Orwellian. You are calling something a pollutant that we
all produce. Where does that lead us eventually?”



CO2 is a greenhouse gas and it has been rising steadily. How can
you deny global warming?
CO2 is not the tail that wags the dog. CO 2 is a trace essential gas, but
without it life on earth would be impossible. Carbon dioxide fertilizes
algae, trees, and crops to provide food for humans and animals. We inhale
oxygen and exhale CO2. Slightly higher atmospheric CO 2 levels cannot possibly
supplant the numerous complex and inter-connected forces that have always
determined Earth’s climate.

As University of London professor emeritus Philip Stott has noted: “The
fundamental point has always been this. Climate change is governed by
hundreds of factors, or variables, and the very idea that we can manage
climate change predictably by understanding and manipulating at the margins
one politically selected factor (CO 2), is as misguided as it gets.” “It’s
scientific nonsense,” Stott added.

Even the global warming activists at RealClimate.org acknowledged this in a
September 20, 2008 article, stating, “The actual temperature rise is an
emergent property resulting from interactions among hundreds of factors.”


Haven’t the past few years shown global warming is worse than we
thought?
As the real world evidence mounts that global warming claims are failing,
climate activists have ramped up predictions of future climate change
impacts, declaring that it is 'worse than we thought.” But a prediction or
projection 50 to 100 years into the future is not ‘evidence.’


Climate activists have said every storm is now influenced by
‘global warming.’
These types of unscientific claims have a long history. In Australia in 1846,
Aborigines blamed the bad climate on the introduction of the white man in




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Australia. During World War II, some blamed the war for causing unusual
weather patterns. In 1933, Syria banned the Yo-Yo because they thought it
caused drought. In the 1970s, extreme weather was blamed on manmade global
cooling.




If CO2 is not the main driver of global temperatures, what is?
The sun?
When global temperatures are the question, the answer is not the sun or
CO2. It is the sun, volcanoes, tilt of the Earth’s axis, water vapor, methane,
clouds, ocean cycles, plate tectonics, shifting ocean currents, albedo
(Earth’s changing reflective properties), atmospheric dust, atmospheric
circulation, cosmic rays, particulates like carbon soot and volcanic dust,
forests and grasslands, and urban and other land use changes. Climate change
is governed by hundreds of factors, not just CO 2.


Hasn’t the Earth overheated in the past when CO 2 rose?
The geologic history of the earth undercuts rising carbon dioxide fears. CO 2
levels were higher in the past and there was no climate apocalypse.
Greenpeace co-founder Dr. Patrick Moore has testified to Congress: “The fact
that we had both higher temperatures and an ice age at a time when CO2
emissions were 10 times higher than they are today, fundamentally contradicts
the certainty that human-caused CO2 emissions are the main cause of global
warming. An Ice Age occurred when CO2 was 10 times higher than today.”


Are there just a handful of skeptical scientists who dissent
from the UN IPCC claims?
Scientists who are skeptical about “dangerous manmade climate change” have
been speaking out for years. Many former prominent former believers in
manmade global warming announced they were reconsidering the science.

Scientists like Dr. Leonard Bengtsson, Dr. Judith Curry, and UN IPCC Lead
Author Dr. Richard Tol are growing more skeptical of climate claims.

The 2016 film Climate Hustle documented many of the politically left
scientists (who voted for Gore and endorsed Obama) who have reexamined the
evidence and are now skeptical.

Climate scientist Mike Hulme dismantled the “thousands of scientists agree”
claim put forth by the United Nations and news media. Claims that “2,500 of
the world's leading scientists have reached a consensus that human activities
are having a significant influence on the climate” are disingenuous, Hulme
noted. The key scientific case for CO 2 driving global warming, like many
others in the IPCC reports, “is reached by only a few dozen experts in the
specific field of detection and attribution studies; other IPCC authors are
experts in other fields.” Other scientists are excluded or not consulted.

Dr. William Schlesinger agrees with   the UN climate view but has admitted that
only 20% of UN IPCC scientists deal   with climate. In other words, 80% of the
UN’s IPCC membership are experts in   other fields and have no dealing with or
expertise in climate change as part   of their academic studies.




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How can you reject the National Academy of Sciences and other
science organization that all agree manmade global warming is a
threat?
Proponents of manmade global warming often point out the National Academy of
Sciences (NAS) and American Meteorological Society (AMS) have issued
statements endorsing the so-called ‘consensus’ view that human emissions
drive climate change. However, neither the NAS nor the AMS has ever allowed
member scientists to vote directly on these statements. A couple of dozen
members of the institutions’ governing boards produced the statements – and
then issued press releases.

The governing boards are steeped in politics and seek more funding for
‘research’ that promotes currently accepted viewpoints. The full membership
of actual scientists never gets to vote on the activist statements and in
many cases is completely unaware until too late that the boards have issued
them. Many such organizations have faced open rebellion by their skeptical
member scientists for such actions, including the American Chemical Society,
American Physical Society, and International Geological Congress.


But don’t 97% of scientists say manmade climate change is real?
The claim that “97% of scientists agree” is in part based on 77 anonymous
scientists who responded to a survey. The survey started by seeking opinions
from 10,257 scientists. However, only 77 responded. So the 97% “consensus”
claim is not based on thousands of scientists or even hundreds of scientists
– but only on 77 scientists. Out of those 77 scientists, 75 answered the
survey to form the mythical 97% ‘consensus.’

In 2013 and 2014,   other claims of an alleged 97% climate ‘consensus’ emerged,
prompting UN IPCC   lead author Dr. Richard Tol to publish a critique and
declare: “The 97%   is essentially pulled from thin air, it is not based on any
credible research   whatsoever.”

The new 97% claim by climate activist John Cook was so “so broad that it
incorporates the views of most prominent climate skeptics.”

Another researcher, Andrew Montford, commented: “The [97%] consensus as
described by the survey is virtually meaningless and tells us nothing about
the current state of scientific opinion beyond the trivial observation that
carbon dioxide is a greenhouse gas and that human activities have warmed the
planet to some unspecified extent.”

Lord Christopher Monckton’s analysis found that “only 41 papers – 0.3% of all
11,944 abstracts or 1.0% of the 4,014 expressing an opinion, and not 97.1%”
actually endorsed the claim that “more than half of recent global warming was
anthropogenic.”

Bjorn Lomborg wrote: “Do you remember the ‘97% consensus,’ which even Obama
tweeted? Turns out the authors don’t want to reveal their data. It has always
been a dodgy paper. Virtually everyone I know in the debate would
automatically be included in the 97%.”




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The Associated Press reported in 2015 that, “In the worst case
scenario, Antarctica’s melt could push sea levels up 10 feet
worldwide in a century or two, recurving heavily populated
coastlines.” Don’t we owe it to millions of people to stop this?
A 2015 NASA study found that Antarctica was NOT losing ice mass and “not
currently contributing to sea level rise,” but actually reducing sea level
rise. The NASA study found that the ice mass gains of the Antarctic ice sheet
are greater than their losses.

The Associated Press was not the first one to hype these same   Antarctica melt
fears. Virtually the exact same claims and hype were reported   in 2014, 1990,
1979, 1922, and 1901! In 1990, NBC’s Today Show featured Paul   Ehrlich warning
of impacts of Antarctic ice melt: 'You Could Tie Your Boat to   the Washington
Monument.'

1979 New York Times: “Boats could be launched from the bottom of the steps of
the Capitol’ in DC.”

1922: “Mountain after mountain of [Antarctic] ice will fall into the sea, be
swept northwards by the currents, and melt, thus bringing about, but at a
much more rapid rate, the threatened inundation of the land by the rising of
the sea to its ancient level.”

1901: “Geologists believe that this great ice sucker has reached the stage of
perfection when it [Antarctica] will, break up again, letting loose all the
waters of its auction over the two hemispheres, and completely flooding the
low-lying lands of Europe, Asia, and North America.”



NOAA reported that manmade climate change has doubled the
chances for the type of heavy downpours that caused
devastating Louisiana floods in August 2016. Is climate change
increasing rain and floods?
NOAA chose media hype over science. Climatologist Dr. Roger Pielke, Sr.,
slammed the NOAA modeling study as “manipulation of science for political
reasons,” adding “NOAA should be embarrassed” and labeling the study “a
dismaying example of manipulation of science for political reasons.”

Real Climate Science’s Tony Heller noted the NOAA claim “has no   scientific
basis, and ignores all available actual data.” “Software models   can be
written to produce any result the author wants to produce. They   are not
evidence of anything. There has been no increase in heavy rains   in
Louisiana.”

Climate models can be twisted to make it appear the invisible hand of 'global
warming' has a role in almost every weather event. Ironically, heavy rains
used to be caused by 'global cooling' in the 1970s. Time Magazine noted in a
1974 article titled “Another Ice Age” that “record rains” were accompanying a
cooling climate trend.

Any attempt to link manmade global warming to rainfall events in any specific
region is the stuff of pure politics – not science. As a result of this and
similar realities, global warming activists are desperately seeking to tie
any and all weather events to global warming.




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In Australia, climate activists were caught blaming too little rain on
manmade global warming, and then – when there was too much rain – they blamed
that on manmade global warming, too. Other studies have found both
temperatures and precipitation were higher 1,000 years ago during the
Medieval Warm Period.


Did ‘climate change’ cause Hurricane Hermine that hit Florida in
2016?
No. Hurricane Hermine was a Category 1 storm that finally broke the record
11-year span of no land-falling hurricanes hitting Florida. Meteorologist Joe
Bastardi noted “portraying Hermine as some kind of climate change demon is
either ignorance as to the history of hurricanes or deceit.” They are
“warning us about something [Florida hurricanes] that occurred much more
frequently in the past, yet trying to blame it on an agenda-driven issue,”
Bastardi added.



Does global warming cause wars? Is it a national security
threat?
Ironically, the data and studies reveal that warm periods coincide with less
conflict. This same argument was used by the CIA in 1974 to claim that
‘global cooling’ would cause conflict and terrorism. To believe that rising
CO2 is a key cause for the creation of ISIS is akin to believing that the
Middle East was a peaceful region until modern ‘global warming’ set upon it.
The Center for Strategic and International Studies report noted the opposite
of recent claims regarding ‘global warming’ and war. “Since the dawn of
civilization, warmer eras have meant fewer wars.”

Another study published in the Proceedings of the National Academy of
Sciences found that “Cooler periods coincided with conflicts and disease
outbreaks.”



The ‘hottest year’ on record occurred in recent years.
Actually, global temperatures have been holding nearly steady for almost two
decades (nearly 18 years according to RSS satellite data). While 2005, 2010,
and 2015 were declared the ‘hottest years’ by global warming proponents, a
closer examination revealed that the claims were “based on year-to-year
temperature data that differs by only a few HUNDREDTHS of a degree to tenths
of a degree Fahrenheit – differences that were within the margin of error in
the data.” In other words, global temperatures have essentially held very
steady with no sign of acceleration.

The media and climate activists hype ‘record’ temperatures that are not even
outside the margin of error of the dataset as somehow meaningful. Even former
NASA climatologist James Hansen admitted ‘hottest year’ declarations are “not
particularly important.”

MIT climate scientist Dr. Richard Lindzen ridiculed ‘hottest year’ claims in
2015. “The uncertainty here is tenths of a degree. When someone points to
this and says this is the warmest temperature on record, what are they
talking about? It’s just nonsense. This is a very tiny change period,”
Lindzen said. “If you can adjust temperatures to 2/10ths of a degree, it
means it wasn’t certain to 2/10ths of a degree.”




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So-called ‘hottest year’ claims are just a fancy way of saying that the
‘global warming pause’ has essentially continued.


Isn’t the U.S. experiencing unprecedented heat waves?
Climatologist Dr. John Christy: “About 75% of the states recorded their
hottest temperature prior to 1955, and over 50% of the states experienced
their record cold temperatures after 1940.” In 2014, the U.S. experienced a
brutally cold winter and a cool summer.

Arctic ice melted to record lows in 2012. Isn’t that due to
manmade global warming?

In 2016, Arctic ice made was 22% greater than the satellite era low point of
2012. The 2016 Arctic sea ice minimum is now in a 10-year ‘pause’ with ‘no
significant change in the past decade’

According to climate analyst Dr. David Whitehouse of the UK Global Warming
Policy Forum, “There is no general decrease in minimal ice area, by this
measure, between 2007 – 2016 – ten years! The case can be made that the
behavior of the Arctic ice cover has changed from the declining years of 1998
– 2007.”

Arctic ice changes are not ‘proof’ of manmade global warming, nor are they
unprecedented, unusual, or cause for alarm, according to experts and multiple
peer-reviewed studies. After weeks of media hype blaming global warming, NASA
finally admitted in September 2012 that an August Arctic cyclone “broke up”
and “wreaked havoc” on sea ice. According to NASA: “The cyclone remained
stalled over the arctic for several days ... pushing [sea ice] south to
warmer waters, where it melted.”

In 2013, the Arctic ice cap grew by 29% over 2012 in the summer with 533,000
more square miles of ocean covered with ice than in 2012.

Global warming activists have long hyped satellite era data, which begin in
1979, to claim record low Arctic sea ice – while ignoring the satellite data
that showed record or near record sea ice expansion in the Antarctic in
previous years. Moreover, satellite monitoring of Arctic ice began at the end
of a 40-year cold cycle (remember the 1970s fears of a coming ice age?), when
ice was most likely at its highest extent in the modern era.

We have had similar Arctic ice panics in the past. A November 2, 1922
Washington Post article was headlined, “Arctic Ocean getting warm: Seals
vanish and icebergs melt.” The Arctic Ocean is warming, icebergs are growing
scarcer, and in places the seals are finding the water too hot, it claimed.


Isn’t manmade global warming causing extreme weather?
“There is a lack of evidence to blame humans for an increase in extreme events.
One cannot convict CO 2 of causing any of these events, because they've happened
in the past before CO 2 levels rose,” climatologist John Christy testified
before Congress in 2012. “There are innumerable types of events that can be
defined as extreme events – so for the enterprising individual (unencumbered by
the scientific method), weather statistics can supply an unlimited, target-rich
environment in which to discover a ‘useful’ extreme event.”




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“There is no evidence that disasters are getting worse because of climate
change,” notes Professor Roger Pielke, Jr. “There’s really no evidence that
we’re in the midst of an extreme weather era – whether man has influenced
climate or not.”


Aren’t hurricanes getting bigger, stronger, and more frequent
due to manmade global warming?
As of 2016, the U.S. has gone 11 years (since Hurricane Wilma in 2005) with
no Category 3 or larger hurricanes making landfall, the longest spell since
at least 1900.

Even with the recent Hurricane Matthew witch skirted the Florida coast as a
category 3 hurricane, the U.S. is still currently in a record-breaking
hurricane drought of no Category 3 or larger storms making landfall. In fact,
the last Category 4-5 hurricane that made landfall in the US was 24 years ago
in 1992 [Andrew]. For the United States, during the past four decades, “The
fewest number of major hurricanes struck during any 40-year period since at
least the 1800s.”

The worst decade for major (Category 3, 4, and 5) hurricanes was the 1940s,
according to the website Real Science which analyzed National Oceanic and
Atmospheric Administration data. In 2011, a new study found that “overall
global tropical cyclone activity has decreased to historically low levels
during the past five years.”


Isn’t global warming causing bigger, more dangerous tornadoes?
No. In fact, big tornadoes have seen a drop in frequency since the 1950s.
“There has been a downward trend in strong (F3) to violent (F5) tornadoes in
U.S. since 1950s.” “Warming causes fewer strong tornadoes, not more,”
climatologist Dr. Roy Spencer explained.

The years 2012, 2013, and 2014 all saw at or near record low tornado counts
in the U.S.

In 2015, the number of major tornadoes was “one of the lowest on record,”
according to NOAA.

And 2016 has so far been another below-normal tornado season, according to
NOAA.

There is “no scientific consensus or connection between global warming and
tornadic activity,” emphasized Greg Carbin, tornado warning coordination
meteorologist at NOAA’s Storm Prediction Center in Norman, Oklahoma. “NOAA
statistics show that the last 60 years have seen a dramatic increase in the
reporting of weak tornadoes, but no change in the number of severe to violent
ones,” Corbin commented.

In 1975, tornado outbreaks were blamed on ‘global cooling.’




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Don’t we need to stop global warming to keep cities from being
inundated by rising seas?
Sea levels have been rising since the last ice age ended more than 10,000
years ago. There is currently no acceleration in sea level rise.

Global sea levels have been naturally rising for ~20,000 years and have
decelerated over the past 8,000 years, decelerated over the 20th
century, decelerated 31% since 2002, and decelerated 44% since 2004 to less
than 7 inches per century. There is no evidence of an acceleration of sea
level rise, and therefore no evidence of any effect of mankind on sea levels.

According to tide gauges, sea levels are rising LESS than the thickness of
one nickel (1.95 mm thick) per year or about the thickness of one penny (1.52
mm thick) a year. According to satellite info, it is rising slightly more
than two pennies a year (3.04 mm)

Aren’t the recent droughts in the U.S. due to manmade global
warming?
Across time scales required for any meaningful analysis, “Droughts have, for
the most part, become shorter, less frequent, and cover a smaller portion of
the U. S. over the last century,” Professor Roger Pielke, Jr. observes. “U.S.
Midwestern drought has decreased in past 50+ years? That is not skepticism;
that's according to the UN Intergovernmental Panel on Climate Change,” he
adds.

Even U.S. government scientists have admitted that recent droughts are not
due to climate change. “This is not a climate change drought,” said Dr.
Robert Hoerling, a NOAA research meteorologist, who served as the lead author
of the U.S. Climate Change Science Plan Synthesis and Assessment Report. “The
good news,” he emphasized, “is that this isn’t global warming. This is not
the new normal in terms of drought.”

For scientists who take the long view of history, the U.S. drought of 2012 is
“merely a climatological blip,” E&E News reported, in an article titled “Dust
Bowl and 1988 both eclipse 2012 drought, scientists say.”


What about California’s record drought?
California’s current drought is not related to climate change. Much more severe
California droughts occurred with lower allegedly ‘safe’ CO2 levels. According
to the data, “past dry periods have lasted more than 200 years.” “Researchers
have documented multiple droughts in California that lasted 10 or 20 years in a
row during the past 1,000 years – compared to the mere 3-year duration of the
current dry spell. The two most severe mega-droughts make the Dust Bowl of the
1930s look tame: a 240-year-long drought that started in 850 and, 50 years
after the conclusion of that one, another that stretched at least 180 years.”



Isn’t climate change making floods more severe?
Peer-reviewed studies reject these claims, too. “Are US floods increasing?
The answer is still ‘No,’” says a new scientific paper by Roger Pielke, Jr.
The evidence demonstrates that “flooding has not increased in U.S. over
records of 85 to 127 years. This adds to a pile of research that shows
similar results around the world,” Pielke said. It is also worth noting that




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“the world’s ten deadliest floods all occurred before 1976.” In other words,
“All of the world's deadliest floods occurred with CO 2 well below 350 ppm.”

In addition, a recent study by the U.S. government found no evidence that
climate change caused more severe flooding during last century. In fact, the
U.S. Geological Survey found that in some regions “floods become less severe
as greenhouse gas emissions increased.” Moreover, at this time, “We do not
see a clear pattern that enables us to understand how climate change will
alter flood conditions in the future,” USGS scientist Robert Hirsch
explained.


Aren’t wildfires getting worse?
No. “Data from both the U.S. and Canada show the number of wildfires has
declined over the past 40 to 50 years and that the number of wildfires was
higher during the global cooling scare of the 1970s.” In fact, the number of
U.S. wildfires has dropped 10% per decade. The U.S. government’s National
Interagency Fire Center has reported that U.S. wildfires now occur “half as
often as they did 50 years ago.”

Spanish researchers confirmed climate change is not to blame for increased
forest fires. “The change in the occurrence of fires that are recorded in the
historical research cannot be explained by the gradual change in climate,”
they reported. Instead, it “corresponds to changes in the availability of
fuel, the use of sources of energy, and the continuity of the landscape.” In
the United States, wildfires are also due to a failure to thin forests or
remove dead and diseased trees – due largely to environmentalist protests and
lawsuits.


Aren’t polar bears dying, threatened with extinction by receding
Arctic ice?
No. Polar bears are at or near historic population highs. The only threats
they face are from virtual world computer model predictions that do not
reflect reality or account for the adaptability of these animals.

“The only reason the service listed them was based on speculation from fairly
untested models, based on what the fate of polar bears may be in the future,”
like if global warming ever dramatically alters the bears’ habitat, Alaska’s
coordinator for endangered species explained.

“The polar bear population is very, very healthy,” Canadian Inuit have
emphasized. “We live in polar bear country. We understand the polar bears. We
are unanimous in our belief that polar bears have not declined.”

Evolutionary biologist and paleozoologist Dr. Susan Crockford of the
University of Victoria agrees. “Polar bears have survived several episodes of
much warmer climate over the last 10,000 years than exists today,” she wrote.
“There is no evidence to suggest that the polar bear or its food supply is in
danger of disappearing entirely with increased Arctic warming, regardless of
the dire fairy-tale scenarios predicted by computer models.”

Crockford added: “The annual minimum reached in late summer has little impact
on polar bear health and survival. What matters most to polar bears is the
presence of ample ice in spring and early summer (March-June), which is their
critical feeding period.”




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University of Iceland professor and award-winning quaternary geologist Dr.
Olafur Ingolfsson notes that a fossil specimen “confirms that the polar bear
was a morphologically distinct species at least 100,000 years ago, and this
basically means that the polar bear has already survived one interglacial
period.” This tells us that, “Despite the on-going warming in the Arctic
today, maybe we don’t have to be quite so worried about the polar bear.”

Professor J. Scott Armstrong, a forecasting expert at the Wharton School,
says polar bear models are critically flawed. “To list a species that is
currently in good health as an endangered species requires valid forecasts
that its population would decline to levels that threaten its viability.” In
fact, the polar bear populations have been increasing rapidly in recent
decades, due to hunting restrictions.

Biologist Josef Reichholf heads the Vertebrates Department at the National
Zoological Collection in Munich. “In warmer regions, it takes far less effort
to ensure survival,” he points out. “How did the polar bear survive the last
warm period? Whether bears survive will depend on human beings, not the
climate.”


Don’t graphs show that current temperatures are the highest in
1,000 years?
Penn State professor and UN IPCC modeler Michael Mann did publish a hockey
stick-shaped graph that purportedly showed an unprecedented sudden increase
in average global temperatures, following ten centuries of supposedly stable
climate. However, Dr. Mann was at the center of the Climategate scandal. His
graph and the data and methodology behind it have been scrutinized and
debunked in peer-reviewed studies by numerous climate scientists,
statisticians, and other experts.

The latest research clearly reveals that the Medieval Warm Period (also
called the Medieval Climate Optimum) has been verified and was in fact
global, not just confined to the Northern Hemisphere. The Center for the
Study of Carbon Dioxide and Global Change reported in 2009 that “the Medieval
Warm Period was: (1) global in extent, (2) at least as warm as, but likely
even warmer than, the Current Warm Period, and (3) of a duration
significantly longer than that of the Current Warm Period to date.”

The Science and Public Policy Institute reported in May 2009: “More than 700
scientists from 400 institutions in 40 countries have contributed peer-
reviewed papers providing evidence that the Medieval Warm Period (MWP) was
real, global, and warmer than the present. And the numbers grow larger
daily.”


Weren’t the Climategate scientists exonerated – meaning there
was no scandal?
Many in the media repeatedly cite the various Climategate investigations as
an ‘exoneration’ of the UN global warming scientists. But a closer look
reveals that the investigations were nothing more than the global warming
industry pretending to investigate itself, and of course finding no
wrongdoing.




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Penn State’s investigation of Michael Mann is a prime example of what a mockery
the process became. Clive Crook of the Atlantic Monthly summed it up this way:
“The Penn State inquiry exonerating Michael Mann would be difficult to parody.
Three of four allegations were dismissed out of hand at the outset.”


Why do you oppose government taking steps to solve the climate
crisis?
Despite all the evidence and studies presented in this fact sheet, many
people continue to say that Congress and the United Nations need to take
immediate action to prevent more extreme weather, rising sea levels, and
planetary ‘overheating.’ The reality is that politicians who say government
“can do something about” droughts, floods, sea levels, hurricanes, and
tornadoes are practicing the equivalent of medieval witchcraft.

Laws, treaties, and regulations – whether from the United Nations, the U.S.
Congress, or the Environmental Protection Agency – cannot control the
weather. CO2 does not control global temperatures, and current global
temperatures are well within natural variability, as demonstrated by surface
and satellite data and extensive historic records. Scientific studies and
data also show that droughts, floods, wildfires, and other extreme weather
are not unusual, unprecedented, or related to CO 2 emissions or climate change.




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